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          EXHIBIT %
    5edacted Version of
Document Sought to be Sealed
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                                CONFIDENTIAL

1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE:     FACEBOOK, INC.,                MDL No. 2843
5     CONSUMER USER PROFILE                     Case No.
6     LITIGATION                                18-md-02843-VC-JSC
      ___________________________
7     This document relates to:
8     ALL ACTIONS
      ____________________________
9
10                            **CONFIDENTIAL**
11
12             ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13           CORPORATE REPRESENTATIVE - MICHAEL DUFFEY
14    (Reported Remotely via Video & Web Videoconference)
15         Palo Alto, California (Deponent's location)
16                       Wednesday, June 2, 2022
17                                  Volume I
18
19    STENOGRAPHICALLY REPORTED BY:
20    REBECCA L. ROMANO, RPR, CSR, CCR
21    California CSR No. 12546
22    Nevada CCR No. 827
      Oregon CSR No. 20-0466
23    Washington CCR No. 3491
24    JOB NO. 5234611
25    PAGES 1 - 194

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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
      IN RE:     FACEBOOK, INC.,                MDL No. 2843
4     CONSUMER USER PROFILE                     Case No.
      LITIGATION                                18-md-02843-VC-JSC
5     ___________________________
6     This document relates to:
7     ALL ACTIONS
8
      ____________________________
9
10
11
12
13
14
15                 DEPOSITION OF MICHAEL DUFFEY, taken on
16    behalf of the Plaintiffs, with the deponent located
17    in Palo Alto, California, commencing at
18    9:14 a.m., Wednesday, June 3, 2022, remotely
19    reported via Video & Web videoconference before
20    REBECCA L. ROMANO, a Certified Shorthand Reporter,
21    Certified Court Reporter, Registered Professional
22    Reporter.
23
24
25

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1                           APPEARANCES OF COUNSEL
2     (All parties appearing via Web videoconference)
3
4     For the Plaintiffs:
5             BLEICHMAR FONTI & AULD LLP
6             BY:    LESLEY E. WEAVER
7             BY:    ANNE K. DAVIS
8             BY:    JOSHUA SAMRA
9             Attorneys at Law
10            555 12th Street
11            Suite 1600
12            Oakland, California 94607
13            (415) 445-4003
14            lweaver@bfalaw.com
15            adavis@bfalaw.com
16            jsamra@bfalaw.com
17
18
19
20
21
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1                           APPEARANCES OF COUNSEL
2     (All parties appearing via Web videoconference)
3
4             KELLER ROHRBACK L.L.P.
5             BY:    CARI CAMPEN LAUFENBERG
6             BY:    DEREK W. LOESER
7             Attorneys at Law
8             1201 Third Avenue
9             Suite 3200
10            Seattle, Washington 98101
11            (206) 623-1900
12            claufenberg@kellerrohrback.com
13            dloeser@kellerrohrback.com
14
15    For Facebook, Inc.:
16            GIBSON, DUNN & CRUTCHER LLP
17            BY:    RUSSELL H. FALCONER
18            Attorney at Law
19            2001 Ross Avenue
20            Suite 2100
21            Dallas, Texas 75201
22            (214) 698-3170
23            rfalconer@gibsondunn.com
24
25    /////

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1                     APPEARANCES OF COUNSEL(cont'd)
2     (All parties appearing via Web videoconference)
3
4     For Facebook, Inc.:
5             GIBSON, DUNN & CRUTCHER LLP
6             BY:    YEKATERINA REYZIS
7             Attorney at Law
8             333 South Grand Avenue
9             Los Angeles, California 90071-3197
10            (213) 229-7907
11            yreyzis@gibsondunn.com
12    and
13            BY:    DAYNA ZOLLE HAUSER
14            BY:    HANNAH REGAN-SMITH
15            Attorneys at Law
16            1801 California Street
17            Suite 4200
18            Denver, Colorado 80202-2642
19            (303) 298-5700
20            dzhauser@gibsondunn.com
21            hregan-smith@gibsondunn.com
22
23
24
25    /////

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1                     APPEARANCES OF COUNSEL(cont'd)
2     (All parties appearing via Web videoconference)
3
4     For Facebook, Inc.:
5             GIBSON, DUNN & CRUTCHER LLP
6             BY:    ROSEMARIE T. RING
7             Attorney at Law
8             555 Mission Street
9             Suite 3000
10            San Francisco, California 94105-0921
11            (415) 393-8247
12            rring@gibsondunn.com
13
14            JAMS
15            BY:    DANIEL B. GARRIE
16            Special Master
17            555 W. 5th Street
18            32nd Floor
19            Los Angeles, California 90013
20            (213) 253-9706
21            dgarrie@jamsadr.com
22
23
24
25    /////

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1                            APPEARANCES(cont'd)
2     (All parties appearing via Web videoconference)
3
4     ALSO PRESENT:
5             Ian Chen, Associate General Counsel,
6     Meta Platforms
7             John Macdonell, Videographer
8
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1                                 I N D E X
2     DEPONENT                                              EXAMINATION
3     MICHAEL DUFFEY                                                 PAGE
      VOLUME I
4
5                                BY MS. WEAVER                             14
6
7
8                             E X H I B I T S
9     NUMBER                                                         PAGE
10                               DESCRIPTION
11    Exhibit 384      Plaintiffs' Third Amended                           17
12                     Notice of Deposition of
13                     Defendant Facebook, Inc.
14                     Pursuant to Federal Rule of
15                     Civil Procedure 30(b)(6)
16                     regarding Preservation of
17                     Relevant ESI;
18
19    Exhibit 385      Legal Hold Policy Effective:                        32
20                     June 20, 2020,
21                     ADVANCE-META-0000489 -
22                     ADVANCE-META-0000493;
23
24
25    /////

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1                        E X H I B I T S(cont'd)
2      NUMBER                                                        PAGE
3                                DESCRIPTION
4      Exhibit 386      30(b)(6) Deposition Notes                       52
5                       6/2/2022, Legal Hold Policy
6                       Effective:        June 20, 2020,
7                       ADVANCE-META-0000489 -
8                       ADVANCE-META-00003256 - Legal
9                       Hold Policy Effective:             June
10                      20, 2020,
11                      ADVANCE-META-0000489 -
12                      ADVANCE-META-00003259;
13
14     Exhibit 387      Email & Workplace Chat                         103
15                      Retention Policy Effective:
16                      October 28, 2022,
17                      ADVANCE-META-0000692 -
18                      ADVANCE-META-0000694;
19
20     Exhibit 388      Electronic Communications                      104
21                      Policy Effective:             November
22                      16, 2021,
23                      ADVANCE-META-0000462 -
24                      ADVANCE-META-0000470;
25     /////

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1                        E X H I B I T S(cont'd)
2      NUMBER                                                        PAGE
3                                DESCRIPTION
4      Exhibit 389      Gibson Dunn Letter dated                       114
5                       September 6, 2018;
6
7      Exhibit 390      Gibson Dunn Letter dated                       116
8                       December 9, 2019;
9
10     Exhibit 391      US Privacy Program Records                     129
11                      Management Policy Effective:
12                      April 20, 2021,
13                      ADVANCE-META-0000504 -
14                      ADVANCE-META-0000509;
15
16     Exhibit 392      US Privacy Program Records                     130
17                      Retention Schedule Effective:
18                      April 20, 2021,
19                      ADVANCE-META-0000516 -
20                      ADVANCE-META-0000531;
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1                        E X H I B I T S(cont'd)
2      NUMBER                                                        PAGE
3                                DESCRIPTION
4      Exhibit 393      US Privacy Program Records                     134
5                       Retention Schedule Effective:
6                       April 20, 2021,
7                       ADVANCE-META-0000555 -
8                       ADVANCE-META-0000568;
9
10     Exhibit 394      Meta US Privacy Program                        134
11                      Records File Plan;
12
13     Exhibit 395      FTC Order Records Management                   142
14                      Policy Effective:             April 28,
15                      2020, ADVANCE-META-0000578 -
16                      ADVANCE-META-0000585.
17
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1         Palo Alto, California; Thursday, June 2, 2022               09:04:04

2                                 9:14 a.m.

3                                 ---o0o---

4

5                   THE VIDEOGRAPHER:     Okay.    We on the          09:14:31

6      record.     It's 9:14 Pacific Time on June 2nd, 2022.

7      This is the depositions of Mike Duffey.            We are in

8      the matter In Re:     Facebook, Inc. Consumer Privacy

9      User Profile Litigation.

10                  I'm John Macdonell the videographer with          09:14:47

11     Veritext.

12                  Before the reporter swears the witness,

13     would counsel please identify themselves, beginning

14     with the noticing attorney, please.

15                  MS. WEAVER:     Good morning, everybody.          09:14:58

16     This is Lesley Weaver of Bleichmar Fonti & Auld on

17     behalf of the plaintiffs.

18                  With me today is my partner, Anne Davis,

19     and Josh Samra of my firm is assisting with this

20     deposition.     My cocounsel, Derek Loeser and Cari            09:15:10

21     Laufenberg, are also present virtually.

22                  MR. FALCONER:     Good morning.     This is

23     Russ Falconer with Gibson Dunn, here on behalf of

24     Facebook and the witness.        I'm here with my

25     colleagues from Gibson Dunn, Dayne Hauser, Hannah              09:15:27

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1      Regan-Smith, and Katie Reyzis.         And also with       09:15:31

2      Ian Chen from Facebook.

3                   SPECIAL MASTER GARRIE:      And

4      Special Master Garrie.       I'm here today on behalf of

5      the court.                                                 09:15:42

6                   For the record and clarity of the record,

7      there will be one attorney taking and one attorney

8      defending on today's deposition pursuant to the

9      protocol.     All lawyers have agreed to or have

10     provided and submitted the signed protective order         09:15:55

11     and will provide copies to counsel and have agreed

12     to as such.

13                  That said, I'm turning it over to counsel

14     to start the deposition.

15                  THE COURT REPORTER:      Mr. Duffey, if you   09:16:07

16     could raise your right hand for me, please.

17                  THE DEPONENT:    (Complies.)

18                  THE COURT REPORTER:      You do solemnly

19     state, under penalty of perjury, that the testimony

20     you are about to give in this deposition shall be          09:16:07

21     the truth, the whole truth and nothing but the

22     truth?

23                  THE DEPONENT:    I do.

24

25     /////                                                      09:16:24

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1                           MICHAEL DUFFEY,                      09:16:24

2      having been administered an oath, was examined and

3      testified as follows:

4

5                             EXAMINATION                        09:16:24

6      BY MS. WEAVER:

7           Q.   Good morning, Mr. Duffey.        Will you

8      please state your full name and employment for the

9      record.

10          A.   Sure.     My name is Michael Duffey,            09:16:35

11     D-U-F-F-E-Y.     I am a manager for E-discovery Case

12     Management within the legal department of Meta

13     Platforms, Inc.

14          Q.   And you understand, Mr. Duffey, that you

15     are testifying today as a corporate representative        09:16:55

16     on behalf of Facebook; is that correct?

17          A.   Yes, I understand that.

18          Q.   And how -- have you been a manager of

19     E-discovery since June 2021?

20          A.   That sounds right.                              09:17:12

21          Q.   And prior to that time, from roughly 2017

22     to 2021, you were an E-discovery and litigation

23     case manager; is that correct?

24          A.   That's correct.

25          Q.   Is there any difference between those           09:17:25

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1      titles and roles?                                            09:17:27

2           A.    Prior to June 2021, I -- I did not have

3      any direct reports.     I manage three case managers

4      on the E-discovery team now.

5           Q.    And what are case managers in terms of            09:17:51

6      their roles and responsibilities at Facebook?

7           A.    Case managers work with our in-house and

8      outside legal counsel on litigation and regulatory

9      matters involving Meta Platforms, Inc.         We focus on

10     the identification, preservation, collection and             09:18:20

11     production of ESI relevant to a matter.

12          Q.    And do you hold a legal degree?

13          A.    No, I don't.

14          Q.    And prior to Facebook, you worked at

15     Ropes & Gay -- Ropes & Gray, rather -- as a                  09:18:48

16     litigation paralegal; is that right?

17          A.    Litigation paralegal specialist.         That's

18     correct.

19          Q.    And then you were at Howrey LLP prior to

20     that; is that right?                                         09:18:59

21          A.    Correct.

22          Q.    I myself was a paralegal at Howrey &

23     Simon, years ago.

24                Okay.    Great.

25                And did -- do you have personal knowledge         09:19:08

                                                                     Page 15

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1      of the steps that Facebook took to identify and                09:19:10

2      collect ESI for production in this matter?

3                   MR. FALCONER:     Objection.     Beyond the

4      scope of the notice.

5                   You can go ahead and answer.                      09:19:24

6                   THE WITNESS:    Yes.

7           Q.      (By Ms. Weaver)     Who at Facebook was

8      responsible for the identification and collection

9      of ESI in response to the filing of this lawsuit?

10          A.      Our outside counsel and in-house counsel          09:19:49

11     are responsible for identify- -- identifying

12     custodians to be placed on legal hold and

13     ultimately the custodians who are -- are identified

14     for collection of ESI.

15          Q.      So who specifically by name was                   09:20:15

16     responsible for the identification and collection

17     of ESI in response to the filing of this lawsuit?

18                  MR. FALCONER:     Objection.     Beyond the

19     scope of the notice.

20                  THE DEPONENT:     I'm trying to remember.     I   09:20:44

21     don't know that I can remember all of the names of

22     the in-house counsel that worked on the

23     Cambridge Analytica multi-district litigation over

24     the years.     Gibson Dunn has been our lead counsel

25     on the MDL since 2018.                                         09:20:59

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1                Would you like me to try to attempt             09:21:13

2      some -- some to name some names or --

3           Q.   (By Ms. Weaver)     Yes, please.

4                MR. FALCONER:     Objection.     Beyond the

5      scope of the notice.                                      09:21:22

6                THE WITNESS:     Ian Chen is the lead

7      in-house counsel on -- on the MDL currently.

8      Sandeep Solanki was another in-house counsel who

9      was involved in the Cambridge Analytica matter.

10     Natalie Naugle was another in-house counsel working       09:21:54

11     on the Cambridge matter.

12               Those -- those are the names that I --

13     that I recall.

14          Q.   (By Ms. Weaver)     And with regard -- well,

15     strike that.                                              09:22:19

16               I'll address the scope objection.

17               MS. WEAVER:     Let's mark as Exhibit 384

18     the 30(b)(6) notice, third amended notice of

19     deposition of Facebook to which you are being

20     presented as a witness today.                             09:22:37

21               (Exhibit 384 was marked for

22     identification by the court reporter and is

23     attached hereto.)

24          Q.   (By Ms. Weaver)     And while that's

25     loading, Mr. Duffey, you've been deposed before,          09:22:41

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1      correct?                                                  09:22:44

2           A.     I have, yes.

3           Q.     On how many occasions?

4           A.     Eight or nine times, I think.

5           Q.     How many times in the last year have you      09:22:58

6      been deposed?

7           A.     Once, I believe.

8           Q.     And what matter was that?

9           A.     It was an Instagram matter involving

10     facial recognition.                                       09:23:24

11          Q.     And when was that?

12          A.     I don't recall.

13          Q.     Was it a remote deposition?

14          A.     It was, yes.

15          Q.     So just for the record, you seem very         09:23:35

16     proficient and capable of answering testimony today

17     in a manner that will be clear and cogent, but just

18     so we understand each other, these are the rules of

19     the road.

20                 I will ask you questions and you will         09:23:50

21     answer, and we will attempt not to talk over each

22     so Ms. Romano can get a clear record.

23                 Is that fair?

24          A.     Absolutely fair, yes.

25          Q.     And you must answer audibly so that we        09:24:02

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1      can get those answers in the record.         Shake of the    09:24:04

2      head won't do.

3                   Is that fair?

4              A.   That's fair, yes.

5              Q.   Okay.                                           09:24:12

6                   We can take breaks, you know, as you need

7      during this deposition.      You just let me know if

8      you need a break.     But we ask that you not take a

9      break while a question is pending.

10                  Is that fair?                                   09:24:24

11             A.   Yes, that's fair.     Thank you.

12             Q.   Okay.

13                  How many times have you testified as a

14     corporate representative on Facebook's behalf?

15             A.   I believe this is only time or the first        09:24:39

16     time.

17             Q.   And how many times have you testified on

18     Facebook's behalf at all in any litigation?

19             A.   As -- as a deponent or --

20             Q.   Yes, as a deponent.                             09:24:59

21             A.   I believe eight or nine times.

22             Q.   And how many times have you submitted

23     declarations in various litigation matters on

24     behalf of Facebook?

25             A.   I don't know the exact number.       It would   09:25:26

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1      be over 50 times.                                         09:25:28

2           Q.   And you've submitted a declaration in

3      this matter, in fact, haven't you?

4           A.   I don't recall.

5           Q.   Okay.                                           09:25:51

6                Are you familiar with the Exhibit Share

7      function so that you can review exhibits as this

8      deposition proceeds?

9           A.   Yes.    I have it open, and I believe I've

10     used it before.                                           09:26:05

11          Q.   Okay.

12               And looking at Exhibit 384, do you

13     recognize it?

14          A.   Yes.

15          Q.   What is it?                                     09:26:48

16          A.   What is the document that I'm looking at?

17          Q.   Yes.

18          A.   It's the plaintiff's third amended notice

19     of deposition of defendant Facebook Inc. regarding

20     preservation of relevant ESI.                             09:27:00

21          Q.   Okay.     And do you understand that you are

22     being produced as a witness today in response to

23     this notice?

24          A.   Yes, I understand that.

25          Q.   Okay.                                           09:27:12

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1                 And let's turn to page 7, and                       09:27:13

2      specifically paragraph 11.

3                 And I'll direct your attention and read

4      into the record where it says "'You' or 'your' or

5      'Facebook' or 'defendant' means defendant Facebook,            09:27:27

6      Inc., together with your predecessors, successors,

7      parents, subsidiaries, et cetera."

8                 And then if you read on, do you see where

9      it says "attorneys or other persons occupying

10     similar positions or performing similar functions"?            09:27:42

11          A.    I see that, yes.

12          Q.    And when you were identifying who was

13     involved on behalf of Facebook collecting ESI in

14     this case, you were referring to attorneys, right?

15          A.    I was referring to attorneys, correct.              09:28:04

16          Q.    Okay.   And who at Gibson Dunn, the

17     outside counsel, by name can you identify as being

18     involved in the collection of ESI in this

19     litigation?

20                MR. FALCONER:   Objection.     Beyond the           09:28:19

21     scope of the notice.

22                THE DEPONENT:   There have been lots of

23     attorneys from Gibson Dunn working on the Cambridge

24     matter:   Russ Falconer, Laura Mumm or Munn.          I -- I

25     don't recall people's last names.                              09:28:54

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1                   I know Rose Ring works on the                  09:28:58

2      Cambridge Analytica matter.        The attorneys that are

3      present today for Gibson Dunn.         I'm -- the last

4      name is escaping me; her name is -- her first name

5      is Martie, M-A-R-T-I-E.                                     09:29:21

6                   Those are the names that come to mind.

7           Q.      (By Ms. Weaver)     And for the record, is

8      that Martie Kutscher Clark to whom you're

9      referring?

10          A.      Correct.   Thank you.     That's right.        09:29:36

11          Q.      No -- no problem.

12                  And you were also identifying other

13     individuals present today.        Is that Katie Reyzis

14     and Dayne Zolle Hauser and Hannah Regan-Smith?

15          A.      Correct.                                       09:29:49

16          Q.      Great.

17                  And at the outset of the litigation, in

18     2018, who was responsible for the identification

19     and preservation of ESI?

20                  MR. FALCONER:     Objection.     Beyond the    09:30:01

21     scope.

22                  THE DEPONENT:     We had some ongoing

23     regulatory matters that overlapped with the

24     Cambridge Analytica MDL, so I just want to get

25     clarity on -- on sort of this question.                     09:30:29

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1                  Is the question specific to -- to the          09:30:31

2      MDL?

3             Q.   (By Ms. Weaver)     The question is focused

4      on what efforts were taken to preserve documents

5      relating to this litigation.        If there was overlap   09:30:43

6      with some of these efforts with another matter, we

7      would like to understand that.

8                  MR. FALCONER:     Same objection as before

9      for continuing the question.

10                 THE DEPONENT:     Once again, Gibson Dunn is   09:31:09

11     lead counsel for the multi-district litigation.

12     For the regulatory matters, state AG matters, and

13     the FTC matter involving Cambridge Analytica,

14     counsel for WilmerHale was involved.          We also

15     worked with the Redgrave firm on some preservation         09:31:32

16     issues back in that time period.         I don't recall

17     the names of the people that worked on -- on -- on

18     those matters back in the onset of this litigation.

19            Q.   (By Ms. Weaver)     What were the

20     preservation issues which you worked with the              09:31:53

21     Redgrave firm?

22                 MR. FALCONER:     Mr. Duffey, I'll just

23     caution you not to reveal any privileged

24     communications or privileged information, of

25     course, in answering that question.                        09:32:04

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1                THE DEPONENT:     I don't recall.                09:32:15

2           Q.   (By Ms. Weaver)     Do you have a general

3      sense of any preservation issues that might have

4      effected the collection of ESI in this matter?

5           A.   No.                                              09:32:27

6           Q.   When was the Redgrave firm retained?

7           A.   I don't recall.

8           Q.   When you say "preservation issues," what

9      do you mean?

10               MR. FALCONER:     Objection.     Form.           09:32:48

11               Go ahead.

12               THE DEPONENT:     I didn't issues in -- in

13     any sort of negative way.     It was they -- they were

14     working on -- as I stated, I don't recall the

15     specific things.   But -- but Redgrave was -- was          09:33:13

16     involved in the steps taken to -- necessary to --

17     to identify and preserve relevant ESI.

18          Q.   (By Ms. Weaver)     And what specific steps

19     are you thinking of?

20          A.   The steps I'm thinking of are -- are the         09:33:55

21     identification of relevant custodians.

22          Q.   And how did the Redgrave firm identify

23     the relevant custodians?

24          A.   I don't know that Redgrave exclusively

25     identified relevant custodians.       It certainly was a   09:34:20

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1      collaborative effort between Gibson Dunn and our           09:34:28

2      in-house counsel working on the matter.

3              Q.   And when you say Gibson Dunn in this

4      particular respect, who specifically by name do you

5      mean?                                                      09:34:43

6                   MR. FALCONER:     Objection.     Beyond the

7      scope.

8                   THE WITNESS:    I don't -- I don't recall.

9              Q.   (By Ms. Weaver)     Was it Ms. Mumm or

10     Ms. Kutscher Clark?                                        09:34:54

11                  MR. FALCONER:     Same objection.

12                  THE DEPONENT:     I don't recall either --

13     I -- I don't recall whether or not they were

14     working on -- on -- on identification of custodians

15     in that 2018 time period.                                  09:35:30

16             Q.   (By Ms. Weaver)     Okay.    Who can you

17     identify by name -- well, strike this.

18                  I'll address the objection again.

19                  Looking at Exhibit 3 -- what is again? --

20     84.                                                        09:35:42

21                  I'll direct your attention to topic 3.

22                  And while you're looking at it, I'll read

23     it into the record.

24                  "All of your efforts to identify and

25     preserve ESI, personal information, documents,             09:35:52

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1      data, and content and information, including but          09:35:55

2      not limited to that which was or is associated in

3      any with the named plaintiffs in this action."

4                 Do you see that?

5                 It's on page --                                09:36:09

6           A.    I do.

7           Q.    It's on --

8           A.    I see it.

9           Q.    Apologies.

10                Is it your understanding you are               09:36:14

11     testifying on behalf of Facebook with regard to

12     topic 3?

13          A.    My understanding is that -- I would be

14     speaking to topics as they were laid out in a

15     letter from Gibson Dunn to plaintiff's counsel            09:36:39

16     on -- on I think it was May 18th, 2022.

17          Q.    Right.

18                But the question I'm asking you is that

19     do you understand that you are here to testify

20     regarding Facebook's efforts to identify and              09:36:57

21     preserve ESI personal information, documents, data,

22     and content and information relating to this

23     matter?

24          A.    Yes.

25          Q.    Going back to the identification of            09:37:16

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1      custodians for the purpose of collecting ESI in           09:37:22

2      this matter in 2018, who was involved in that

3      process by name?

4                MR. FALCONER:     Objection.     Beyond the

5      scope.                                                    09:37:32

6                THE DEPONENT:     Can you repeat the

7      question, please.

8           Q.   (By Ms. Weaver)     Yes.

9                With regard to the identification of

10     custodians for the purpose of preserving and              09:37:50

11     collecting ESI in this matter in 2018, who was

12     involved in that process by name?

13               MR. FALCONER:     Objection.     Beyond the

14     scope.

15               THE DEPONENT:     I remember Sandeep Solanki    09:38:23

16     was one of our -- our in-house attorneys who was

17     responsible for providing the E-discovery team the

18     names of the custodians to be placed on legal hold.

19               I don't -- I recall it, again, being a --

20     a collaborative effort between our outside counsel        09:38:54

21     and our in-house counsel, but I cannot recall by

22     name all of those individuals.

23          Q.   (By Ms. Weaver)     Can you recall by name

24     any of them?

25               MR. FALCONER:     Same objection.               09:39:08

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1                  THE DEPONENT:     No.                         09:39:13

2           Q.     (By Ms. Weaver)     Was Josh Lipshutz

3      involved?

4                  MR. FALCONER:     Same objection.

5                  THE DEPONENT:     I don't know.               09:39:25

6           Q.     (By Ms. Weaver)     Were you?

7                  MR. FALCONER:     Same objection.

8                  THE DEPONENT:     I was not involved in the

9      identification of relevant custodians.

10          Q.     (By Ms. Weaver)     And the only person you   09:39:39

11     can think of who was involved in the identification

12     of relevant custodians by name is Mr. Solanki; is

13     that right?

14                 MR. FALCONER:     Same objection.

15                 THE DEPONENT:     Yes.                        09:39:58

16          Q.     (By Ms. Weaver)     What was the process by

17     which Facebook identified custodians?

18          A.     Our in-house and outside counsel are --

19     work together to -- to identify relevant custodians

20     in a matter.                                              09:40:24

21          Q.     How did they work together to identify

22     the custodians?

23          A.     I'm not part of those discussions.

24          Q.     So you don't know?

25          A.     I know that they collaborate and work         09:40:45

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1      together.    To what extent that they do that, I             09:40:47

2      can't answer that.

3           Q.     Okay.     I'm just trying to actually

4      understand the process and what you mean by

5      "collaborate and work together."                             09:40:54

6                  Do they interview people?        Do they look

7      at documents?       Did you speak with anybody to find

8      out who was -- and by "you," I mean Facebook -- who

9      was involved in Cambridge Analytica?          What was the

10     process for identification custodians that Facebook          09:41:06

11     engaged in this matter in 2018?

12          A.     Yes, I do believe that they talked to

13     employees at the company to understand if there is

14     any involvement on any matter, including

15     Cambridge Analytica.       We also ask our custodians to     09:41:29

16     assist in identifying additional custodians that --

17     that worked on relevant topics related to the

18     matter, so that -- so that's our process.

19          Q.     Okay.

20                 Let's return for a moment just back to           09:41:57

21     Exhibit 384.      And looking at the exhibit, do you

22     understand that you are here to testify on all of

23     the topics, 1 through 8, identified in Exhibit 384?

24          A.     No.     As I mentioned, I -- I had

25     understood that the topics were -- were listed in            09:42:24

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1      the letter to plaintiff's counsel from Gibson Dunn           09:42:31

2      in May -- in May of this year.

3           Q.    I understand.     I've read the

4      correspondence.

5                 But I'm asking you this question:            Is   09:42:45

6      there any topic listed in Exhibit 384 upon which

7      you are not prepared to testify generally?

8                 MR. FALCONER:     Objection.     Form.

9                 THE DEPONENT:     The -- topic 8 is -- is

10     one for which -- I, you know, don't have by name,            09:44:00

11     title, position all persons responsible with the

12     decision-making as it pertains to topics 3 and 7.

13          Q.    (By Ms. Weaver)     So for the record, topic

14     8 says "identify by name, title, position, employer

15     all persons responsible for and involved with                09:44:20

16     decision-making relating to topics 3 through 7 as

17     well as a general description of these decisions,

18     the timing of those decisions, and the effect of

19     those decisions."

20                That's the topic you were referring to,           09:44:32

21     correct?

22          A.    That's the topic I'm referring to, yes.

23          Q.    And you're saying you have no knowledge

24     or maybe you have general knowledge with regard to

25     topic 8?                                                     09:44:45

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1           A.   I have general knowledge.        The -- but --    09:44:50

2      but the topic is asking for all persons and -- and

3      name, title, and position, which -- which,

4      you know, depending on the question, I might -- I

5      might struggle with.                                        09:45:10

6           Q.   Fair enough.     That's okay.     We

7      understand.

8                Let's look for a moment here at topic 1.

9                Is it fair to describe topic 1 as

10     Facebook's guidelines, policies, practices,                 09:45:25

11     procedures, rules, et cetera, regarding the

12     collection, preservation, retention of ESI,

13     personal information, documents, data and content,

14     and information relating to this action?

15               MR. FALCONER:     Objection.     Form.            09:45:49

16               THE DEPONENT:     I did -- I didn't catch a

17     question there, Counsel.     I'm sorry.

18          Q.   (By Ms. Weaver)     That's okay.       I'm just

19     trying to get your general understanding of what

20     you think topic 1 entails, so I was asking a                09:46:01

21     leading question, which I will do again and

22     hopefully it will be helpful.

23               Is it fair to describe topic 1 as

24     Facebook's guidelines, policies, practices,

25     procedures, rules, et cetera, regarding the                 09:46:15

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1      collection, preservation, and retention of ESI,           09:46:18

2      personal information, documents, data, content, and

3      information relating to this action?

4                 MR. FALCONER:     Objection.     Form.

5                 THE DEPONENT:     Yes, that's fair.            09:46:36

6           Q.    (By Ms. Weaver)     What is your

7      understanding of what ESI is?

8           A.    ESI is an acronym for electronically

9      stored information.

10          Q.    And what is electronically stored              09:46:56

11     information?

12          A.    That could be, you know, documents,

13     communications, electronic communications data,

14     within the company.

15                (Exhibit 385 was marked for                    09:47:18

16     identification by the court reporter and is

17     attached hereto.)

18                MS. WEAVER:     We are marking as

19     Exhibit 385 tab 29, Mr. Samra.

20                And for the record, Exhibit 385 --             09:47:29

21          Q.    (By Ms. Weaver)     -- which will be up in a

22     moment, Mr. Duffey.      I'm just going to read the

23     Bates numbers into the record.

24                And you know what those are; is that

25     correct?   A Bates number?                                09:47:38

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1           A.    I know what a Bates number is, yes.                09:47:39

2           Q.    Yes.

3                 MS. WEAVER:     Exhibit 385 bears Bates

4      numbers Advance-Meta-0000489 through -493.

5           Q.    (By Ms. Weaver)     And let me know when you       09:47:58

6      have it up.

7                 MS. WEAVER:     I am informed that it is

8      loaded, and I see the file.

9                 THE WITNESS:     I have it up now.

10                MS. WEAVER:     Okay.   Great.                     09:48:39

11                MR. FALCONER:     Can you give me just a

12     second?   Sorry.   I'm still --

13                MS. WEAVER:     No problem.

14                MR. FALCONER:     Sorry.

15                I got it.     Thank you.                           09:48:46

16          Q.    (By Ms. Weaver)     And you may take a

17     moment to review it, of course, Mr. Duffey.             But

18     when you've had a moment, please tell me whether or

19     not you recognize Exhibit 385.

20          A.    Yes, I do recognize it.                            09:49:04

21          Q.    And what is it?

22          A.    It's the company's legal hold policy.

23          Q.    And when you say "the company's," do you

24     mean Meta or Facebook?

25                MR. FALCONER:     Objection.     Form.             09:49:19

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1                  THE DEPONENT:     When I say "company," I     09:49:26

2      mean -- I mean Meta Platforms, Inc., but that's

3      what I -- that's -- that's the company.

4           Q.     (By Ms. Weaver)     Okay.

5                  Is -- but you're here testifying on           09:49:39

6      behalf of Facebook.       Does this -- does

7      Exhibit 385 -- represent Facebook's current legal

8      hold policy?

9                  MR. FALCONER:     Objection.     Form.

10                 THE DEPONENT:     I believe this -- this      09:50:02

11     policy was put into effect before the company

12     changed its name from Facebook Inc. to Meta

13     Platform, Inc.    So -- so I would say yes to your

14     question.

15          Q.     (By Ms. Weaver)     And in preparation for    09:50:19

16     your deposition today, did you review other legal

17     hold notices other than Exhibit 385 -- legal hold

18     policies, rather?

19          A.     Do you mind restating the question?

20          Q.     No problem.                                   09:50:34

21                 In preparation for your deposition today,

22     did you review legal hold policies other than

23     Exhibit 385?

24          A.     I reviewed this document.        I did not

25     review any earlier versions of this policy.               09:50:59

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1              Q.   Do earlier versions exist?                     09:51:04

2              A.   I believe so.     At the -- on the last

3      page, it indicates that there is a -- that what we

4      are looking at is the portal version 3.

5                   So I believe that there were possibly two      09:51:33

6      earlier versions of this policy.

7              Q.   Did Facebook have a legal hold policy in

8      place in March of 2018?

9              A.   I don't believe we had a formal legal

10     hold policy in place prior to June 10th, 2020.              09:52:08

11             Q.   Okay.

12                  What did you do to prepare for your

13     deposition today?

14             A.   Counsel, I have a few pages of notes here

15     in front of me.      Is it okay if I -- I refer to          09:52:33

16     them?

17             Q.   You may.

18                  MS. WEAVER:     And I'll request their

19     immediate production, Russ.        And I really -- just a

20     standing request that if things like that happen,           09:52:44

21     these are produced ahead of the deposition so we

22     can prepare.

23             Q.   (By Ms. Weaver)     Please go ahead and

24     answer the question.       And, yes, you may rely on

25     those documents, Mr. Duffey.                                09:53:00

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1           A.     Thank you.                                    09:53:03

2                  I met with counsel for Gibson Dunn

3      approximately for 38 hours over the course of four

4      weeks.    I believe that there were ten sessions.

5                  I reviewed the documents that were            09:53:22

6      produced to plaintiffs, I believe a week or so ago.

7                  I reviewed correspondence from Gibson

8      Dunn to plaintiffs regarding legal hold and -- and

9      preservation of ESI.

10                 I reviewed a handful of documents that        09:53:53

11     were provided from -- by plaintiffs to Gibson Dunn.

12                 I reviewed the 30(b)(6) notice and the

13     correspondence that I mentioned from May 18th,

14     2020 -- 2022.

15                 I spoke with various employees at the         09:54:25

16     company to help learn more about the various topics

17     at issue here.

18          Q.     And is all of this information detailed

19     in the notes that you're reviewing?

20          A.     The -- the timing of the events, the          09:54:56

21     number is on -- on the notes.       The people that I

22     spoke with are -- are also listed.

23          Q.     Do you have --

24          A.     There's listing --

25          Q.     I'm so sorry.    Please continue.             09:55:15

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1              A.   Oh, I was just -- no, no.                    09:55:18

2                   You know, I mentioned that I reviewed the

3      documents.     Those are not listed in my notes, no.

4              Q.   What documents did you review?

5              A.   The policies that were produced to           09:55:38

6      plaintiffs a week or so ago.        I don't know -- I

7      don't know the exact date that that production was

8      made.

9                   Cor- -- again, correspondence from Gibson

10     Dunn to plaintiffs regarding the legal hold and           09:56:02

11     preservation of ESI.

12                  I reviewed some documents that plaintiffs

13     provided to Gibson Dunn.

14                  I reviewed the 30(b)(6) notice.

15                  I -- I saw -- I reviewed an email from       09:56:34

16     Special Master Garrie regarding questions he had

17     for this deposition.

18                  Counsel showed me, I believe, the initial

19     disclosures that plaintiffs filed in this case and

20     a very short portion of the Tyler King deposition         09:57:17

21     transcript.

22             Q.   Anything else?

23             A.   No.

24             Q.   What was the subject matter of the

25     portion of the Tyler King deposition transcript           09:57:41

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1      that you reviewed?                                             09:57:44

2              A.      It was confirmation that her account was

3      deleted in 2018.

4              Q.      And were you involved in seeking to

5      preserve any ESI relating to Ms. King's account?               09:58:08

6                      MR. FALCONER:     Objection.     Beyond the

7      scope of the notice.

8                      THE DEPONENT:     I was not personally

9      involved, but there were members of my team that --

10     that were involved.                                            09:58:26

11             Q.      (By Ms. Weaver)     And who was that?

12             A.      Another case manager on the E-discovery

13     team.        Her name is Jennifer Allen, A-L-L-E-N.

14             Q.      And what do you recall about efforts to

15     preserve ESI relating to Ms. King's account?                   09:58:51

16             A.      There was an attempt made to take a DYI

17     snapshot of Ms. King's account




20             Q.      And was, in fact, a DYI snapshot of            09:59:36

21     Ms. King's account taken?

22             A.      We attempted to take those snapshots in

23     March 9th -- on March 9th, 2020, because Ms. King's

24     account was deleted in 2018.            I don't believe that

25     there was any data available to be taken as a                  10:00:09

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1                 MR. FALCONER:     Objection.     Form.           10:02:37

2                 THE DEPONENT:




7           Q.    (By Ms. Weaver)     And specifically,




10          A.    My understanding is that DYI doesn't have        10:03:49

11     information related to whether a user is an

12     administrator of a particular Facebook group.           I

13     don't believe DYI has information related to a

14     user's advertising accounts.

15          Q.    And when you say "a user's advertising           10:04:13

16     accounts," what do you mean?

17          A.    If a user is selling ads on Facebook.

18          Q.




                                                   ; is that       10:04:46

21     correct?

22          A.    I'm not -- I'm




                      That would be a question for the law

25     enforcement response team.                                  10:05:06

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1              Q.   What is the law enforcement response                  10:05:07

2      team?

3              A.   That -- that team is -- is -- receives

4      subpoenas and requests from law enforcement

5      regarding individual users at Facebook.                            10:05:31

6              Q.   And why does the law enforcement response

7      team

8                   MR. FALCONER:     Objection.     Beyond the

9      scope of the notice.

10                  And, Mr. Duffey, again, I'll just caution             10:05:49

11     you:     Don't reveal any privileged communications

12     you may have had in the course of your work at the

13     company in answering that question.

14                  THE DEPONENT:     I don't know -- I don't

15     know the -- the -- all of the reasons why the law                  10:06:17

16     enforcement response team                           .     I know

17

                       The ability to download your

19     information was available to users.

20                  I -- I -- I think that it -- the law                  10:06:39

21     enforcement response team can




25             Q.   (By Ms. Weaver)     And when you say                  10:07:07

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1           Q.   (By Ms. Weaver)     When Facebook tried to       10:10:48

2




4           A.

5           Q.   Did Facebook

                                                       this

7

8           A.   I don't understand what you mean by

9      "

10          Q.   That's a fair question.                          10:11:23

11               What was Facebook




13          A.   We attempted to




                                                              .

17          Q.   And is it your testimony that




19          A.   I don't know if

                                                                  10:12:16

21     but -- but I am not sure.

22          Q.   So was there an attempt to retrieve any

23     data with regard to Ms. King's ESI as opposed to

24     take a snapshot of what currently existed?

25               MR. FALCONER:     Objection.     Form.           10:12:36

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1                THE DEPONENT:     Again, I -- I'm not -- I'm    10:12:42

2      not quite -- I don't understand what you mean by

3      the -- the word "re- -- retrieve."

4           Q.   (By Ms. Weaver)     When you say you didn't

5      believe there was any ESI available at all, what          10:12:58

6      did you mean by "available"?

7           A.   Available for preservation purposes.

8           Q.   And what does "available" mean?

9           A.   That -- that any information existed at

10     the time that we tried to take the snapshot.              10:13:25

11          Q.   When you say "existed," are you including

12     in that definition data which might exist but had

13     been anonymized or "pseudonymized" in a way such

14     that it was just not associated with Ms. King?

15          A.   I'm not, no.                                    10:13:47

16          Q.   Were any attempts made to reidentify or

17     reassociate data with Ms. King's account?

18               MR. FALCONER:     Objection.     Beyond the

19     scope of the notice.

20               THE DEPONENT:     I don't know.                 10:14:03

21          Q.   (By Ms. Weaver)     Who would know?

22          A.   When -- when you -- when you refer to

23     sort of like anonymization and reidentification, I

24     think -- I think, to me, that would be a question

25     for the E-discovery data science team.                    10:14:51

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1           Q.    And who specifically by name is on that                   10:14:57

2      team who you think might have knowledge of this?

3           A.    The two data scientists that I know that

4      are working on the Cambridge matters are Maggie Ji,

5      M-A-G-G-I-E J-I.   And Gerardo, G-E-R-A-R-D-O,                       10:15:13

6      Zaragoza, Z-A-R-A-G-O-Z-A.

7           Q.    And returning to                           , do

8      you know                       -- or sorry.     Strike that.

9                 With regard to                                 , do

10     you know if

                                              in this action?

12          A.                  .

13          Q.

14          A.    These all took place on                               .

15                              .                                           10:16:17

16                Would you like me to spell those names

17     or -- are we comfortable that everybody knows who

18     I'm talking about when I --

19          Q.    With the court reporter's permission, if

20     we can skip the spelling, the deposition will be                     10:16:30

21     shorter.

22                MS. WEAVER:       Is that okay, Ms. Romano?

23                Okay.

24          Q.    (By Ms. Weaver)       Yes, you may skip the

25     spelling and we'll clean that up later.                              10:16:37

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1           A.     Okay.                                              10:16:40

2




5                  My understanding is that                           10:17:03

6      there was a -- was a                                ied, and

7      so a -- a




9           Q.     So did Facebook produce

                   in this action as well as




12                 MR. FALCONER:     Objection.     Beyond the

13     scope of the notice.

14                 THE DEPONENT:     The question was has

15     Facebook produced




17          Q.     (By Ms. Weaver)     And do you know




19                 MR. FALCONER:     Objection.     Beyond the

20     scope of the notice.                                           10:18:01

21                 And, again, Mr. Duffey, to the extent you

22     can answer that question without revealing any

23     privileged communications, you can do so.           But if

24     you can't, you should not answer the question.

25                 THE DEPONENT:                    .                 10:18:19

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1             Q.   And before the break, we were discussing          10:35:49

2                               .

3                  Do you recall that?

4             A.   Yes, I do.

5             Q.   And when was the DYI tool first                   10:35:56

6      implemented?

7                  MR. FALCONER:     Objection.     Beyond the

8      scope of the notice.

9                  THE DEPONENT:     I don't know.

10            Q.   (By Ms. Weaver)     You testified earlier         10:36:10

11     that




13                 Do you recall that?

14            A.   Yes, I do recall that testimony, yes.

15            Q.   And what, roughly, do you recall about            10:36:21

16




18                 MR. FALCONER:     Objection.     Beyond the

19     scope.

20                 THE DEPONENT:     I started at the company        10:36:41

21     in -- in 2017, and

                      I -- I don't recall DYI having been

23     available for snapshot in that time period.              So

24

                                                                     10:37:09

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1      you more often

                                                     ?

3                     MR. FALCONER:     Objection.       Beyond the

4      scope of the notice.

5                     THE DEPONENT:                                     10:39:14

6               Q.    (By Ms. Weaver)     And why is that?

7                     MR. FALCONER:     Same objections.

8                     THE DEPONENT:     I -- I

                                                         would be

10     because of the -- the




12              Q.    (By Ms. Weaver)     Any other reason you can

13     think of?

14                    MR. FALCONER:     Same objection.

15                    THE DEPONENT:     No.                             10:40:06

16              Q.    (By Ms. Weaver)     And when you say it

17

                     , what do you mean?

19              A.    I mentioned this earlier.          It's -- it's

20     the sort of -- my understanding is that DYI is --                10:40:29

21     is




            .

24              Q.    And when were

                                                                    ?   10:41:00

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1           A.




3           Q.    And you're consulting your notes; is that

4      correct?

5           A.    I am.                                          10:41:33

6           Q.    And I believe if you look in your

7      Exhibit Share that that -- your notes have been

8      marked as Exhibit 386.

9                 (Exhibit 386 was marked for

10     identification by the court reporter and is               10:41:53

11     attached hereto.)

12          Q.    (By Ms. Weaver)     Do you see that?

13          A.    Yes.

14          Q.    So looking at Exhibit --

15                And just for the record, what is               10:42:16

16     Exhibit 386?

17          A.    These are notes that I took during the

18     course of my preparation for this deposition.

19          Q.    And when did you prepare these notes?

20          A.    I think I started on Monday and continued      10:42:49

21     to update the notes through yesterday.

22          Q.    And looking at the page ending with Bates

23     number -3258 in Exhibit 386.

24                Do you see a reference to

25     there?                                                    10:43:11

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1           A.   Yes.                                            10:43:15

2           Q.   And do you see that it's written "has

3

4      It also has

                                                                 10:43:24

6                Do you see that?

7           A.   Yes.

8           Q.   How do you know that?

9           A.   Based off of discussions with

                                                                 10:43:53

11          Q.   Thank you.

12               And you believe that to be true, correct?

13          A.   Yes, I do believe that to be true.

14          Q.   And when you wrote -- I'm sorry.

15               You wrote those sentences; is that right?       10:44:11

16     Is that fair?

17          A.   (Nodding.)

18               Yes.

19          Q.   Okay.

20               When you wrote

                           --

22          A.   Uh-huh.

23          Q.   -- what did you mean by "other users"?

24          A.   Because

                                  , I believe that               10:44:40

                                                                  Page 53

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1

                                            .

3              Q.   Would that include




                                                                 10:45:12

6              A.

7              Q.   Do you know specifically what




10             A.   I don't understand the question.             10:45:37

11             Q.   I'm just trying to understand when you

12     say "

13     specifically what that is.

14                  Can you be more specific?

15             A.   Compared to                                  10:45:53

16             Q.   Yes.

17             A.   Is that the question?

18             Q.   Yes.

19             A.   I don't have that level of detail, no.

20             Q.   But                  would; is that right?   10:45:59

21             A.   I think that would be more of an

22     appropriate question to the law enforcement

23     response team.

24             Q.   And did you speak with them in

25     preparation for your deposition?                          10:46:16

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1              A.   No.                                          10:46:18

2              Q.   Do you see where you wrote "it" --

3      meaning                 -- "




5              A.   Yes.                                         10:46:35

6              Q.   What information does




8              A.   The question was asking about

9      specifically?

10             Q.   Yes.                                         10:47:02

11             A.

12             Q.   What information did




14             A.   My understanding is that the DYI tool

15     does not maintain information about groups for            10:47:27

16     advertising accounts.

17             Q.   And when you say "groups," what do you

18     mean?

19             A.   Facebook groups.

20             Q.   And can you state for the record what        10:47:44

21     Facebook groups are?

22             A.   Sure.   I'm sorry.

23             Q.   No problem.

24             A.   A group is -- how would I -- if you have

25     an interest in a specific topic, for instance,            10:48:05

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1      surfing, there could be a group established or --              10:48:10

2      or created or in existence that is related to

3      surfing that you could, you know, join and interact

4      with others that are not necessarily your -- or not

5      your friends, but people that have the same level              10:48:29

6      of interest.

7                So that is the -- a way to interact

8      outside of your network of -- of friends.

9           Q.   Do you know if

                                                  about




12          A.   I

13          Q.   And what                                 about

14

15          A.                                                        10:49:04

16          Q.   Okay.     What's the basis for saying that

17

                 n about                      ?

19          A.   The basis would just be, you know, having

20     worked -- worked on a variety of -- of, you know,              10:49:25

21     legal matters.

22          Q.   And what specifically do you know, as you

23     sit here, about what




                                                              .   I   10:49:49

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1      just -- I just understand that




5           Q.   Okay.                                           10:50:04

6           A.   -- that I can share with me.

7           Q.   Fair enough.

8                And when you say "privacy settings," what

9      do you mean, just so that we understand each other?

10          A.   I mean the -- the controls that a user          10:50:18

11     can set about, for instance, who can see your posts

12     or -- so -- so the settings for access of -- of

13     information related to your user account.

14          Q.   Do you know if

15     reflects information about                                10:50:38

16                                  as opposed to




18          A.   I don't know.

19          Q.   Okay.

20               Does the            -- sorry.                   10:50:56

21               Does the                have




24               MR. FALCONER:    Objection.     Form.

25               THE DEPONENT:    I don't know if -- if I        10:51:17

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1      understand the question.        What you do you mean by          10:51:19

2      "which apps"?

3              Q.   (By Ms. Weaver)     That's fair.

4                   What is an app, for the record?

5              A.   It's -- it's a product that you can                 10:51:32

6      download onto your -- onto your phone.

7              Q.   Okay.

8                   And you're aware that users can download

9      apps through the Facebook platform; is that right?

10             A.   Yes.                                                10:51:51

11             Q.   And does the                        have




13                  MR. FALCONER:     Objection.     Beyond the

14     scope.

15                  But go ahead, Mike.                                 10:52:02

16                  THE DEPONENT:     I -- I don't know.

17             Q.   (By Ms. Weaver)     Do you know who would

18     know?

19             A.   I would -- I would refer to the law

20     enforcement response team to be able to answer that              10:52:16

21     question.

22             Q.   Okay.

23                  Looking a little lower on this page, do

24     you see where it says "Note:         In                   ,

25     Facebook preserved                                      across   10:52:27

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1                                                         for the        10:52:32

2

3                   Do you see that?

4           A.      I do.

5           Q.      What's your understanding of what                    10:52:43

6                                     with regard to these

7                              ?

8           A.      If any of the named plaintiffs were

9                                                                 were

10                                           , and if any of the         10:53:06

11     named plaintiffs                                   , those

12     were also                                              .

13          Q.      And for clarity, when you say "named

14     plaintiffs," you mean the individuals listed above

15     in that box; is that correct?                                     10:53:29

16          A.      That's correct.

17          Q.      And were those

                   in this action?

19                  MR. FALCONER:     Objection.     Beyond the

20     scope of the notice.                                              10:53:41

21                  THE DEPONENT:




23     in -- in this litigation.

24          Q.      (By Ms. Weaver)     And, again, you're not

25                                               that would              10:53:55

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1      that information.                                                    10:55:52

2           Q.     Why were the

             in the

4                  MR. FALCONER:     And, Mr. Duffey, I'll just

5      caution you:    If you can answer that question                      10:56:02

6      without revealing anything privileged, do so, but

7      if you can't, please don't answer the question.

8                  THE DEPONENT:     I can't answer that

9      question.

10          Q.     (By Ms. Weaver)     To be clear, when you                10:56:13

11     testified that the                                       were

12                          , do you mean the               or do

13     you mean something different?

14          A.     I don't -- I don't understand the

15     question.                                                            10:56:34

16          Q.     Me either.

17                 What did you mean when you -- when you

18     wrote -- when you said that                                     of

19                     in                       what does "user

20     accounts" mean?                                                      10:56:45

21          A.     The -- the Facebook account of the named

22     plaintiffs.

23          Q.     And is what contained in a user account

24

25                 MR. FALCONER:     Objection.     Form.                   10:57:04

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1           A.     I -- I could find out that information.                 11:01:05

2      I just don't know that sitting here.              Counsel for

3      Gibson Dunn could -- could also get that

4      information.       Our E-discovery team would know.             I

5      just -- I just don't know the answer to that                        11:01:17

6      question as I sit here.

7           Q.     Okay.

8                  And do you see that in your notes here,

9      you refer to "TAO," the associations and objects

10     database?                                                           11:01:41

11          A.     Yes.

12          Q.     Is it fair to call it a database?

13          A.     I don't know.        I don't know if it would

14     be called a database.

15          Q.     Let's call it a data source.            Fair            11:01:53

16     enough.

17                 Do         DYI




19          A.                            .

20          Q.     Do they

                   ?

22          A.     I think I mentioned this before.               My

23     understanding is that




                             So -- so           I -- I                     11:02:53

                                                                            Page 64

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1                                                  I

                                                       -- or

3




5           Q.   And do you see on page -3258 you've got a          11:03:28

6      heading "Facebook can remove objects and

7      associations," and then there's a bullet point that

8      says "Facebook deprecates products and features,

9      and objects and associations would be deleted when

10     this happens"?                                               11:03:51

11               Do you see that?

12          A.   Yes.

13          Q.   What does "deprecate" mean, for the

14     record?

15          A.   No longer available for use.                       11:04:05

16          Q.   And below that it says "




19               Do you see that?

20          A.   Yes, I do.                                         11:04:17

21          Q.   What does that mean?

22          A.   So if -- if -- if a               whether

                                        was

                                              then that

25                                                             --   11:04:46

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1      the                                                       11:04:48

2                   After deprecation, if




5            Q.     And looking at the chart at -3257 under      11:05:06

6      DYI, there it says "user accounts January 23,

7      2020."

8                   Do you see that?

9            A.     Yes.

10           Q.     And that reflects when the DYI snapshots     11:05:24

11     occurred, correct?

12           A.     That is the first day in which a DYI

13     snapshot occurred.

14           Q.     And do you know why

15                also                               ?           11:05:40

16                  MR. FALCONER:     Same instruction as

17     before, Mr. Duffey, not to reveal any privileged

18     conversations or privileged information you may

19     have in the course of answering that question.

20                  THE DEPONENT:     I can't answer that        11:06:01

21     question.

22           Q.     (By Ms. Weaver)     Do you know of

23                         why the




25           A.     No.                                          11:06:16

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1           Q.     And by that, you understand I mean like a     11:06:17

2                               to                     the

3                   Is that fair?

4           A.     That's fair.

5           Q.     Okay.                                         11:06:24

6                  So we were talking a moment ago about

7      objects and associations, and then I'll refer you

8      back to the bullet point below the one we just read

9      where it says "preserved if data captured in Hive

10     placed on legal hold."                                    11:06:45

11                 Do you see that?

12          A.     Give me one second.

13          Q.     Sorry.   It's the third bullet point down.

14          A.     Yes, I see it.

15          Q.     What is Hive?                                 11:07:04

16          A.     I'm going to refer to my notes.

17                 Hive is a -- a data warehouse that

18     captures and stores data about its products and

19     services, also user activity for analytics

20     purposes.                                                 11:07:33

21          Q.     And are you looking at page -3258 of

22     Exhibit 386?

23          A.     Yes, I am.

24          Q.     And how did you develop your

25     understanding of what Hive is?                            11:07:53

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1              A.      My understanding of Hive has evolved over    11:08:02

2      time, since I started working at the company in

3      2017.        I also had some discussions with our data

4      science team in preparation for this deposition.

5      Because I'm not a data scientist or a computer               11:08:24

6      science engineer, I thought it would be helpful to

7      prepare notes about -- about Hive and what it is.

8              Q.      And when you say the -- the data

9      scientists you're referring to are Maggie Ji and

10     Gerardo Zaragoza; is that right?                             11:08:47

11             A.      That's correct.

12             Q.      And did you develop your understanding of

13     Hive in preparation for this deposition by speaking

14     with anyone other than them?

15             A.      Can you repeat the question.                 11:09:03

16             Q.      Sure.

17                     Are those the only two people that you

18     conferred with regarding Hive in preparation for

19     your deposition?

20             A.      That's correct.                              11:09:13

21             Q.      And going back to the bullet point that I

22     referred to -- it's three down on -3257.

23                     Do you see the one that says "preserved

24     if data captured on Hive placed on legal hold"?

25             A.      Yes.                                         11:09:42

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1              Q.   Can you identify which data in Hive was        11:09:42

2      placed on legal hold for this case?

3              A.   No, I can't.

4              Q.   Can anyone?

5              A.   Can you -- can we go back two questions        11:10:09

6      ago?     Just so I -- I understand the question.

7              Q.   Yeah.    No problem.

8                   Let me try it this way.      Was any data in

9      Hive placed on legal hold for this case?

10             A.   Yes.                                           11:10:33

11             Q.   What data in Hive was placed on legal

12     hold for this case?

13             A.   I understand that there are           Hive

14     tables placed on legal hold for the

15     Cambridge Analytica matter.         We don't maintain a     11:10:51

16     description or -- a description of the fields or

17     Hive tables that have been placed be on hold.

18     If -- if I were to -- you know, needed to

19     understand what data from those            tables, that

20     would be a -- a question for the E-discovery data           11:11:34

21     science team.

22             Q.   It is possible for Facebook to identify

23     those        Hive tables, correct?

24             A.   Yes.    Our data science team could

25     identify those tables.                                      11:11:53

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1           Q.   And do you know how those Hive tables             11:11:55

2      were selected?

3                MR. FALCONER:     And, again, Mr. Duffey,

4      same -- same instruction about not revealing

5      anything privileged in the course of your answer.           11:12:08

6                THE DEPONENT:     In general, similar to

7      identifying custodians relevant to a matter.

8      Our -- our in-house and outside counsel conducts

9      custodian interviews to -- to help identify

10     relevant Hive tables to be placed on legal hold.            11:12:30

11          Q.   (By Ms. Weaver)     When were the Hive

12     tables that we have been the discussing, the           --

13          placed on legal hold?

14          A.   I -- I don't have the answer to that.

15          Q.   Who would know?                                   11:13:00

16          A.   That would be a question for the -- the

17     E-discovery data science team.

18          Q.   Looking at your notes here the last page

19     ending at -3259, there's a square bullet point that

20     says "iData allows searching for Hive tables and            11:13:21

21     indicates if table is on hold."

22               Do you see that?

23          A.   Yes.

24          Q.   So is iData a tool?

25          A.   I don't know.     I don't know if -- if --        11:13:39

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1      it's a appropriate to describe it as -- as a tool.        11:13:42

2      But it -- it allows the ability to determine if

3      a -- if a specific Hive -- Hive table is on legal

4      hold.

5              Q.   Do you see above that there's a square       11:14:07

6      bullet point that says "stops partitions from being

7      deleted or modified, archived into a secured area

8      and hold storage"?

9                   Do you see that?

10             A.   Yes.                                         11:14:19

11             Q.   What does it mean to stop a partition

12     from being deleted or modified?

13             A.   So one way would I describe a partition i

14     it's -- it's a set -- set amount of data within a

15     legal hold.                                               11:14:41

16                  So Hive data can be updated every single

17     day, and a partition can be described as that --

18     you know, a single day or a, you know, Hive table

19     of data going into a Hive table.

20                  What the legal hold process does is it       11:15:08

21     prevents a partition from being deleted or modified

22     before -- or it prevents it and puts that data into

23     cold storage before the data gets deleted or

24     modified pursuant to, you know, the retention

25     period that the table owner, the Hive table owner,        11:15:34

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1      sets.                                                     11:15:37

2              Q.   And then it says "archive into a secured

3      area in cold storage."

4                   Do you see that?

5              A.   Yes.                                         11:15:54

6              Q.   So does the legal hold archive the data

7      in Hive into cold storage?

8                   MR. FALCONER:     Objection.     Form.

9                   THE DEPONENT:     Can you repeat the

10     question.                                                 11:16:17

11             Q.   (By Ms. Weaver)     Does the legal hold

12     cause the data to be archived into a secured area

13     in cold storage?

14             A.   Yes.

15             Q.   And what is cold storage?                    11:16:35

16             A.   I don't know if I can provide the

17     definition of what cold storage is, but I -- but

18     that -- that is the storage space for which we put

19     legal hold Hive -- Hive data that is on legal hold

20     to prevent it from being deleted or modified.             11:17:07

21             Q.   And so for the        tables that Facebook

22     put into cold storage for this case, the tables

23     themselves that were not put into storage are being

24     constantly overwritten; is that right?           Like

25     there's a copy that was put in cold storage and           11:17:33

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1      then there's sort of the active table; is that              11:17:35

2      right?

3                MR. FALCONER:     Objection.     Form.

4                THE DEPONENT:     I'm not sure I understand

5      the question.                                               11:17:47

6           Q.   (By Ms. Weaver)     I'm going to ask a bunch

7      of bad questions to try to get to a good clear one,

8      because I don't really understand.

9                So the act of putting a legal hold on a

10     table, does that a snapshot or make a replica that          11:17:56

11     is then put into cold storage?

12          A.   It would -- it would take data from the

13     Hive table that would be -- for instance, scheduled

14     to be deleted or anonymized and put the partition

15     into cold storage before that data were to be               11:18:24

16     deleted, scheduled to be deleted at -- on the

17     timetable that is set by the table owner.

18          Q.   And you don't know when these            Hive

19     tables were put on legal hold; is that right?

20          A.   I don't know the dates of when               --   11:18:50

21     when the tables were put on legal hold, no.

22          Q.   But that is something that Facebook could

23     tell us; is that right?

24          A.   I believe the E-discovery data science

25     team could provide that information, yes.                   11:19:04

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1                MS. WEAVER:     And, Mr. Falconer, we're           11:19:06

2      going to ask for that information.

3                MR. FALCONER:     Yeah -- yeah.     Let's talk

4      about that after the deposition, given the volume,

5      so -- but yeah, understood.                                  11:19:12

6           Q.   (By Ms. Weaver)     For -- and this is the

7      piece that I'm not asking good questions about and

8      I want to understand.

9                So data is put in cold storage.         Do -- do

10     some version of those tables continue to exist that          11:19:26

11     is overwritten and used such that if you went to

12     the existing operative table, the one that is not

13     in cold storage, it will not contain data that the

14     tables in cold storage contain?

15          A.   Potentially, yes.     For example, if a            11:19:45

16     table has user identifiable information, like an

17     email address of the user, that information can

18     only be retained up to 90 days, and so -- and

19     that's where I was talking about a partition.          So

20     if -- if the -- if the data were scheduled to be             11:20:25

21     deleted on the 90th day, the legal hold would take

22     that partition and put it in cold storage before

23     that active Hive table data gets deleted.

24          Q.   I know you said you don't know, but I'm

25     just going to ask to see if I can jog your memory.           11:20:51

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1                   Do you know if these Hive tables were put        11:20:54

2      on hold in 2018?

3                   MR. FALCONER:     Objection.     Form.

4                   THE DEPONENT:     I -- I couldn't give you

5      an accurate answer without, you know, consulting              11:21:15

6      with the data science team on that.

7              Q.   (By Ms. Weaver)     Do you know what year

8      roughly the Hive tables were put on hold?

9                   MR. FALCONER:     Objection.     Form.

10                  THE DEPONENT:     We're talking about            11:21:39

11     Hive tables.        I would imagine that Hive tables were

12     put on legal hold starting in 2018 and have,

13     you know, as additional -- you know, again, as

14     additional Hive tables are identified relevant to a

15     matter, we work with our -- our in-house and                  11:22:04

16     outside counsel and our data science team and

17     E-discovery to place those Hive tables on legal

18     hold.

19                  When those occurred across the               I

20     can't tell you.                                               11:22:27

21             Q.   (By Ms. Weaver)     Do you know if any Hive

22     table was put on legal hold in 2018?

23             A.   Specific to Cambridge Analytica?

24             Q.   Yes.

25             A.   Yes, I believe so.                               11:22:48

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1              Q.   Do you know which ones?                         11:22:50

2              A.   I don't.

3              Q.   And why do you say "yes, I believe so"?

4              A.   So I -- I've been working on

5      Cambridge Analytica matters since March 2018.          I'm   11:23:10

6      just thinking back to that time and -- and,

7      you know, recall outside counsel working with

8      E-discovery data scientists at the time.         So

9      that's -- that's the extent of like my memory about

10     that.                                                        11:23:40

11             Q.   Who were the E-discovery data scientists

12     involved in this process in 2018?

13             A.   Gerardo Zaragoza.

14             Q.   Anyone else?

15             A.   We were a much smaller team at the time.        11:24:14

16     Gerardo is the one that comes to mind that -- that

17     was employed and working in the E-discovery team at

18     the time.

19             Q.   Thank you.

20                  Do you see the bullet point where you           11:24:41

21     wrote "teams are informed about a Hive table on

22     hold"?

23             A.   Yes.

24             Q.   What do you mean by "teams"?

25             A.   The -- I -- I meant by "teams" is the           11:24:54

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1      table owner.                                                11:24:58

2              Q.   And how were they informed?

3              A.   My understanding from discussions with

4      Maggie Ji is that an email notification goes out to

5      the table owners that a Hive table is placed on             11:25:17

6      hold.

7                   There are other ways where table owners

8      or people with access to a Hive table can receive a

9      notification.     For instance, in that iData space,

10     you can see if a Hive table is on legal hold.               11:25:45

11                  I also understand that if a Hive owner

12     were to modify data within -- within a table that

13     there would be a -- a notification that that table

14     is on legal hold and that data cannot be modified

15     or deleted.                                                 11:26:15

16             Q.   Thank you.     That's very helpful.

17                  Is it fair to say, then, that these

18     Hive tables can be searched by UID?

19                  MR. FALCONER:     Objection.     Form.

20                  THE DEPONENT:     I don't know the answer to   11:26:31

21     that.

22             Q.   (By Ms. Weaver)     Do you see where the

23     bullet point on the last page, second from the top,

24     says "UII 90 days maximum.        Longer than 90 days UII

25     has to be deleted.        RID replaces UID."                11:26:48

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1                  Do you see that?                                 11:26:53

2           A.     Uh-huh.     I do.

3           Q.     So is one reason that these tables were

4      put on legal hold was to prevent the process by

5      which RID replaces UID?                                      11:27:02

6                  MR. FALCONER:       Mr. Duffey, same caution

7      about not revealing any privileged information or

8      privileged communications in answering that

9      question.

10                 THE DEPONENT:       I don't know the answer to   11:27:21

11     that question.

12          Q.     (By Ms. Weaver)       By putting this table on

13     legal hold, did that prevent UIDs from being

14     replaced by RIDs?

15          A.     If a UID is present within any of these          11:27:37

16     tables on legal hold, yes.

17          Q.     And you're familiar with the Hive Anon

18     process; is that right?

19          A.     A little bit, yes.

20          Q.     Okay.     And the Hive Anon process is the       11:27:57

21     process we were just discussing where RID replaces

22     UID; is that correct?

23          A.     Yes.

24          Q.     And so legal hold prevents the Hive Anon

25     process from operating; is that right?                       11:28:12

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1              A.      If that -- if that -- it was one of the,              11:28:16

2      you know -- one of the -- you know, it really

3      depends on -- on the Hive table, the reason why

4      we're placing on legal hold.              Potentially yes.        I

5      just can't give you an answer specific to any of                      11:28:33

6      these           tables on legal hold.

7              Q.      Do you know in general if the              tables

8      on legal hold include the Hive tables that are most

9      frequently in use?

10                     MR. FALCONER:     Objection.     Form.                11:28:58

11                     THE DEPONENT:     There's upwards of, I

12     think,                  Hive tables.        I -- I don't know.

13     I don't know what you mean by "most frequently in

14     use."        But I also don't think I would be able to

15     answer that question, because I -- I don't know                       11:29:23

16     the, you know, specifics of -- of the                    tables on

17     legal hold for this matter.

18                     MS. WEAVER:     Okay.

19                     I think we can take a break now.           It's

20     been about an hour.                                                   11:29:47

21                     MR. FALCONER:     Sure.

22                     THE VIDEOGRAPHER:       Okay.   And we're off

23     the record.        It's 11:29 a.m.

24                     (Recess taken.)

25                     THE VIDEOGRAPHER:       Okay.   We're back on         11:42:06

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1      the record.    It's 11:42 a.m.                            11:42:07

2           Q.    (By Ms. Weaver)     Mr. Duffey, in your

3      testimony just a moment ago, we were talking about

4      the effect of legal hold on Hive tables.

5                 Do you recall that?                            11:42:19

6           A.    Yes.

7           Q.    And what do you mean by a "legal hold"?

8           A.    A legal hold is a preservation step that

9      the E-discovery team undertakes to preserve

10     relevant Hive table data related to a matter.             11:42:44

11          Q.    Okay.   And looking back at Exhibit 385,

12     there is a definition of a "legal hold notice" on

13     the second page of that document ending at Bates

14     number -490.

15                Do you see that?                               11:43:08

16          A.    I do.

17          Q.    And it says "a legal instruction to

18     preserve and not delete, destroy, or otherwise

19     modify relevant information relating to a legal

20     matter."                                                  11:43:26

21                Do you see that?

22          A.    Yes.

23          Q.    And when you were referring to legal hold

24     and when you're referring to legal hold in

25     Exhibit 386, do you mean a legal hold notice?             11:43:38

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1           A.   No.     I -- I had understood your line of      11:43:45

2      questioning to be specific to Hive -- Hive tables.

3      A legal hold notice is -- is something -- is not

4      what I was referring to when I was answering your

5      questions about Hive.                                     11:44:02

6           Q.   Okay.     So you testified that Exhibit 385

7      is the current legal hold policy, and there was no

8      formal legal hold policy at Facebook until March of

9      2020; is that correct?

10          A.   I'm just looking at -- at Exhibit 385.          11:44:28

11     It indicates that this policy was first posted on

12     June 10th, 2020.     I'm not sure where we're getting

13     that March date.

14          Q.   Okay.     Fine.   I stand corrected.

15               So the first legal hold policy at               11:44:47

16     Facebook at any point in time was June 10th, 2020;

17     is that right?

18          A.   That is my understanding, yes.

19          Q.   And then in Exhibit 386, when you're

20     referring to the legal hold on the Hive tables,           11:45:08

21     does that mean this legal hold policy such that the

22     legal hold could not have happened prior to

23     June 10th, 2020?

24          A.   No.

25          Q.   Okay.     That's why I'm asking.                11:45:25

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1              A.   Yeah.                                             11:45:27

2              Q.   So when you were -- yeah.        Let me ask the

3      question again and then you can --

4                   So in Exhibit 386, when you were

5      referring to the legal hold place had on Hive                  11:45:33

6      tables, what do you mean?

7              A.   That is the actual preservation step

8      taken by the E-discovery team at the direction of

9      legal counsel to preserve the -- the relevant data

10     contained within those Hive tables.                            11:45:55

11                  So that's what I mean by -- by legal

12     hold.

13             Q.   And looking again at 386, that page

14     ending at Bates number 3256, you wrote

15     "Cambridge Analytica legal hold 469 total                      11:46:14

16     custodians on hold as of May 31, 2022."

17                  Do you see that?

18             A.   Yes.    One second.

19                  I do, yes.

20             Q.   And that's referring to the legal hold            11:46:31

21     notice; is that right?

22             A.   That's correct.

23             Q.   And is that the same legal hold notice or

24     one of them that may have triggered the legal hold

25     in the        Hive tables?                                     11:46:45

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1            A.     No.   It's -- it's a separate action.      The   11:46:54

2      legal hold notice is -- is sent through a -- a tool

3      that -- that the E-discovery case managers have

4      access to called "Legal Hold Pro."        The legal holds

5      that are done within Hive are -- are done,                    11:47:16

6      you know, separately.

7            Q.     And those are done by the data science

8      team; is that right?

9            A.     The preservation of Hive data tables

10     using legal hold is done by our E-discovery data              11:47:37

11     science team.

12           Q.     Is there a similar procedure for legal

13     holds to be placed on TAO?

14           A.     My understanding is that




18           Q.     With regard to the named plaintiffs'

19     data, has Facebook done anything other than take

20     the snapshots identified in Exhibit 386?                      11:48:34

21                  MR. FALCONER:   Objection.     Form.

22                  THE DEPONENT:   We, as I mentioned, have

23     put        Hive -- Hive tables on legal hold.       We also

24     have a legal hold notification that goes to -- has

25     gone to        custodians.                                    11:49:12

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1                  So -- so I think more has been done other           11:49:20

2      than

3             Q.   (By Ms. Weaver)     So to be clear, the

4      actions taken by Facebook in addition to the

5                                       is to put the           Hive   11:49:45

6      tables on legal hold and a legal hold notice has

7      gone to       Facebook custodians, correct?

8             A.   As of -- as of May 31st, 2022, that's

9      correct.

10            Q.   And is there anything else Facebook has             11:50:05

11     done to preserve the named plaintiffs' data other

12     than the snapshots and putting the Hive tables in

13     cold storage?

14                 MR. FALCONER:     Objection.     Form.

15                 THE DEPONENT:     I'm -- I'm not aware of           11:50:40

16     all the places to -- for which named plaintiff data

17     is stored within, you know, Facebook's internal

18     systems.    Unless a user were to delete their

19     account, we would have potentially additional named

20     plaintiff data in our internal -- some of our                   11:51:13

21     internal tools and systems.

22            Q.   (By Ms. Weaver)     Which internal tools and

23     systems are you referring to that might also

24     contain named plaintiff data?

25            A.   There is a -- a tool called "SRT."           It's   11:51:41

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1      the single -- it stands for -- I think "single                 11:51:46

2      review tool," which contains information related to

3      users and activities of users.

4                      There is an -- another sort of -- what we

5      describe as an investigative tool called "Centra"              11:52:07

6      which we -- Facebook personnel with access to

7      Centra could obtain information related to Facebook

8      users.

9                      Those -- those are the two main ones that

10     come to mind for me.           Again, I -- I -- I'm not sort   11:52:54

11     of familiar with all internal tools that contain

12     user data, but those are two main ones that I'm

13     familiar with.

14             Q.      Thank you.

15                     With regard to SRT, or the single review       11:53:11

16     tool, is information available through SRT that is

17     not captured through the DYI tool

                             ?

19             A.      That -- that is a tough question to

20     answer.        The -- the




                                   that question.

23             Q.      And you said Centra is an investigative

24     tool.        What did you mean by that?

25             A.      It's -- it's a tool that, you know,            11:54:14

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1      specific teams -- for instance, I have access to          11:54:20

2      Centra and can -- if I have the appropriate UID

3      information can look up some basic information

4      pertaining to an individual Facebook user.

5           Q.     And when you say "basic information,"         11:54:50

6      what do you mean?

7           A.     For instance, registration date, email

8      address used to -- or phone number used to sign up

9      for an account.     There are links to posts and

10     messages.    There are -- could be information about      11:55:24

11     a user if they have, for instance, an -- an ads

12     account or an Instagram account, that basic

13     information tied to that Facebook user would also

14     be, you know, present in Centra.

15          Q.     Does Centra make accessible information       11:55:57

16     not available in -- through the DYI




18          A.

19          Q.     When did SRT first come into use?

20          A.     I want to say 2017, but -- but I'm not        11:56:39

21     certain on that.

22          Q.     And when did Centra first come into use?

23          A.     I don't know.

24          Q.     Was it within the last three years?

25          A.     I -- I have -- I don't know.                  11:56:58

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1            Q.   When did you first get access to Centra?       11:57:00

2            A.   I think it was pre-COVID, so 2021 -- or

3      no.   Excuse me.    2019, early 2020.

4            Q.   Time has flown, hasn't it?

5                 With regard to SRT --                          11:57:38

6            A.   Or stopped.

7            Q.   Something, right?    It's in cold storage.

8                 With regard to SRT, is that searchable by

9      UID or user name?

10           A.   Centra is -- I don't know if SRT is -- is      11:58:15

11     searchable by that way.

12           Q.   How does SRT search in general?

13           A.   As I mentioned, there are different

14     pillars that use SRT, so like depending on the

15     pillar, that search capability could be different.        11:58:41

16     I haven't attempted to run any searches in SRT

17     for -- for a while, so I -- I don't -- I don't know

18     all of the fields or information required to search

19     within SRT.

20           Q.   Okay.    And when you say "different           11:59:03

21     pillars," what do you mean?

22           A.   So, for instance, the research team has a

23     pillar within SRT.     I know that privacy operations

24     has a pillar within SRT.     The one that I was

25     thinking about was the pillar for community               11:59:37

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1      operations, that instance within SRT.                         11:59:45

2              Q.      And so when I asked where named plaintiff

3      data might reside and you responded thinking about

4      SRT, was that because you thought named plaintiff

5      data might be in community operations?                        12:00:04

6              A.      In -- that's correct.

7              Q.      And how would you search for a named

8      plaintiff data in community operations?

9                      MR. FALCONER:     Objection.     Beyond the

10     scope.                                                        12:00:17

11                     But go ahead.

12                     THE DEPONENT:     I don't know that I would

13     go into SRT to search for specific named plaintiff

14     data.        The Centra tool is -- is where I would run a

15     search for user -- you know, if I had user                    12:00:39

16     identifiable information, and then there could be

17     links to SRT through Centra.            And so that -- that

18     is the way that I would think about navigating

19     between those two tools.

20             Q.      (By Ms. Weaver)     And how long does it      12:01:08

21     take to run a search in Centra for one person?

22                     MR. FALCONER:     Objection.     Form.

23                     THE DEPONENT:     If I had -- I'm sorry.

24                     MR. FALCONER:     No.   Go ahead.

25                     THE DEPONENT:     It depends.     If I have   12:01:24

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1      exact information about a particular user, the              12:01:28

2      search is -- is -- is, you know, within seconds.

3              Q.   (By Ms. Weaver)     And do you know if

4      Centra searches have been run for the named

5      plaintiffs in this case?                                    12:01:49

6                   MR. FALCONER:     Objection.     Beyond the

7      scope.

8                   THE DEPONENT:     I don't know.     I don't

9      know.

10             Q.   (By Ms. Weaver)     And clarifying question.   12:02:10

11                  Is Centra a tool or is it also a

12     repository of named plaintiff data?

13                  MR. FALCONER:     Objection.

14                  THE DEPONENT:     I would describe it as a

15     tool.                                                       12:02:24

16                  MR. FALCONER:     I want to get the

17     objection on the record.

18                  This is beyond the scope of the notice.

19                  But go ahead.

20                  MS. WEAVER:     Sorry, Russ.                   12:02:30

21                  MR. FALCONER:     It's okay.

22             Q.   (By Ms. Weaver)     And what data sources do

23     Centra and SRT search?

24                  MR. FALCONER:     Same objection.

25                  THE DEPONENT:     I don't know.                12:02:44

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1              Q.   (By Ms. Weaver)     And do you know if the    12:02:44

2      data sources that Centra and SRT search were

3      preserved?

4                   MR. FALCONER:     Same objection.

5                   THE DEPONENT:     Barring a user deleting     12:03:04

6      their -- their account, that information would be

7      preserved or retained within either Centra or SRT

8      without having to, you know, proactively take steps

9      to -- to preserve that information.

10             Q.   (By Ms. Weaver)     I think I'll come back    12:03:54

11     to that.

12                  For the record, no snapshots were taken

13     for any named plaintiff between January 23rd,

14     2020 -- I'm sorry.     Let me ask the question again.

15                  There were no snapshots taken for named       12:04:08

16     plaintiffs between March 9, 2020, and March 15,

17     2022; is that correct?

18             A.   I think there -- there are some

19     exceptions to that.     For instance, Bridgett Burke

20     had, you know, two accounts.         It looks like Terry   12:05:05

21     Fischer, a snapshot in DYI was taken on April 20th,

22     2020.

23                  So -- so Terry Fischer and Bridgett Burke

24     are two exceptions.     All other named plaintiffs

25     that -- that -- you're correct.                            12:05:38

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1           Q.   Is Facebook intending to take snapshots          12:05:42

2      now on a monthly basis going forward?

3                MR. FALCONER:     Objection.     Beyond the

4      scope of the notice.

5                THE DEPONENT:     I don't know.                  12:05:54

6                MS. WEAVER:     I think, Russ, we'd like to

7      know what Facebook's intentions are with ongoing

8      preservation, and I think that's within the scope

9      of the notice.

10               But we can talk about it later.                  12:06:09

11          Q.   (By Ms. Weaver)     Okay.    So returning back

12     again to Exhibit 385.

13               Do you see where it defines "relevant

14     information" in this document?

15          A.   Yes.                                             12:06:35

16          Q.   And it defines relevant information as

17     "ESI, hard copy documents, and/or other tangible

18     materials that are identified as being relevant to

19     a legal matter."

20               Do you see that?                                 12:06:47

21          A.   I do.

22          Q.   And was that the type of relevant

23     information subject to the legal holds issued in

24     this case, beginning with the first one that was

25     issued on March 22nd, 2018?                                12:07:06

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1           A.     Can you repeat the question, please.          12:07:16

2           Q.     Is the definition of "relevant

3      information" set forth in Exhibit 385 consistent

4      with the relevant information for which Facebook

5      applied the -- the legal hold for this case that          12:07:33

6      was first sent on March 22nd, 2018?

7           A.     I haven't reviewed the legal hold notice

8      for this case in preparation for my deposition.

9      But I can say that all legal hold notices sent by

10     the E-discovery team for whatever matter instructs        12:08:03

11     the custodians to preserve and not delete any

12     information relevant to a matter.

13          Q.     Why haven't you reviewed the legal hold

14     notice sent in this matter?

15                 MR. FALCONER:     So I'm going to just        12:08:26

16     caution Mr. Duffey not to reveal contents of any

17     conversations you had with counsel about that, and

18     so if all you know is what you learned from

19     counsel, you should refuse to answer the question.

20     If there's anything else you know that's not              12:08:41

21     privileged, you can share that.

22                 THE DEPONENT:     I can't answer that

23     question.

24          Q.     (By Ms. Weaver)     Okay.    And looking at

25     Exhibit 386, you wrote that there were six                12:08:52

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1      different versions of the legal hold notice sent            12:08:55

2      relating to this action; is that correct?

3           A.     Correct.

4           Q.     And when you say "Cambridge Analytica

5      legal hold," that means this case; is that right?           12:09:08

6           A.     It means this case, the multi-district

7      litigation, but also means the various state AG

8      matters, the -- you know, proceeding FTC

9      investigation.    It's a, you know, overarching legal

10     hold related to Cambridge Analytica, and so...              12:09:36

11          Q.     When you say "related to

12     Cambridge Analytica," what's the subject matter of

13     the legal hold notice?

14                 MR. FALCONER:   So, Mr. Duffey, I will

15     again just caution you not to reveal anything about         12:09:59

16     the language or the contents of the legal hold

17     notice to the extent that you remember it from your

18     work outside the context of preparing for your

19     deposition.    But within that framework, you can

20     answer it the best you can.                                 12:10:13

21                 THE DEPONENT:   As -- as I stated, I

22     haven't reviewed the notice in preparation for the

23     deposition, but in general, our legal hold notices

24                                         and then           a,

25     you know,                                                   12:10:38

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1                                       .   And so that's --      12:10:44

2      that's sort of the general construct of our -- of

3      our legal hold notices.

4              Q.   (By Ms. Weaver)     And do you know if the

5      subject matter described in the legal hold notices         12:11:07

6      included, for example, a request to preserve ESI

7      and relevant information relating to the app

8      developer investigation?

9                   MR. FALCONER:     So I'm going to instruct

10     Mr. Duffey not to answer any question on privilege         12:11:22

11     grounds that relates to the -- the contents of the

12     hold notice.     The notice itself is privileged and

13     work product communication, so on that basis I'm

14     going to instruct him not to answer that question.

15                  MS. WEAVER:     Okay.   And this legal hold   12:11:36

16     notice was sent to 469 people who work at Facebook,

17     and Facebook's position is that it's a privileged

18     document; is that right?

19                  MR. FALCONER:     Yes, and work product as

20     well.                                                      12:11:49

21                  MS. WEAVER:     And Facebook understands

22     that if Facebook asserts privilege over this

23     document and prevents me from conducting inquiries

24     into it, it may not raise it as a shield, correct?

25                  MR. FALCONER:     You're -- I'm happy to      12:12:01

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1      have you ask questions about what --                           12:12:03

2                   SPECIAL MASTER GARRIE:       Counsel --

3      Counsel.

4                   MR. FALCONER:     Yeah.

5                   SPECIAL MASTER GARRIE:       This is Special      12:12:08

6      Master Garrie.     We've noted the objection for the

7      record.     We're not going to discuss or -- or rule

8      or have any conversations on the objections.              It

9      was noted, he instructed the witness accordingly,

10     and we will move forward and discuss this once the             12:12:20

11     deposition is over, if necessary, and pursuant to

12     the prior conversations we've had.

13                  Unless there's a particular issue you're

14     seeking clarification on, Counsel Weaver.

15                  MS. WEAVER:     That's fine.     I'm just         12:12:44

16     defining the position.

17                  SPECIAL MASTER GARRIE:       The issue is

18     asserted.

19                  Counsel Falconer, would you like to

20     respond, since she did seek the clarification, and             12:12:48

21     then we will curb our enthusiasm and limit any

22     further comments.

23                  MR. FALCONER:     Yeah, like I said, I'm

24     happy to have the witness about the actions the

25     employees were instructed to take and describe the             12:13:01

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1      hold notice at a general level, but in a way that            12:13:02

2      doesn't reveal the contents of the notice itself,

3      which is the subject of the privilege and work

4      product.

5                 SPECIAL MASTER GARRIE:       Okay.    Noted for   12:13:12

6      the record.

7                 Counsel Weaver, we note your point for

8      the record.

9                 Now we will proceed forward accordingly.

10                MS. WEAVER:     Excellent.                        12:13:22

11          Q.    (By Ms. Weaver)     Mr. Duffey, looking at

12     Exhibit 386 again, on the second page ending with

13     Bates number -3257.      And I'm looking at your

14     description of the various legal holds that were

15     issued related to this action.       And --                  12:13:35

16          A.    Okay.

17          Q.    Okay.    And you referred to a fifth hold

18     issued on June 16th, 2020.

19                Do you see that?

20          A.    I do.                                             12:13:50

21          Q.    And it says "                         ."

22                Do you see that,

23          A.    Yes.

24          Q.    So prior to June 16th, 2020, was there a

25                   on the relevant information that               12:14:04

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1      custodians were instructed to preserve?                   12:14:11

2           A.   I don't recall if there

3      prior or not.

4           Q.   How would I find out?

5           A.   The E-discovery team could -- could get         12:14:38

6      that information through the Legal Hold Pro

7      software that we use.

8           Q.   And then the bullet point below says

9

                                                                 12:15:00

11               Do you see that?

12          A.   Yes.

13          Q.   Do you know what that example is?

14               MR. FALCONER:     So again --

15               THE DEPONENT:     I don't --                    12:15:11

16               MR. FALCONER:     -- instruct Mr. Duffey not

17     to answer that question.     If that was -- I

18     didn't -- didn't hear what he said, but if he got

19     an answer out, I'd like to move to strike it.

20               Again, I don't -- just to reiterate, I          12:15:19

21     don't want any testimony about the actual contents

22     of the language of the hold notice itself.

23               MS. WEAVER:     So he can testify about his

24     notes that are a partial description, but I can't

25     ask any follow-up questions?                              12:15:34

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1                MR. FALCONER:     I mean...                     12:15:39

2                SPECIAL MASTER GARRIE:        Is that a

3      rhetorical question, Counsel Weaver?

4                MS. WEAVER:     Well, I'm just clarifying

5      his position.                                             12:15:50

6                SPECIAL MASTER GARRIE:        He objected and

7      instructed the witness not to speak to anything

8      that may -- that he constituted attorney-client

9      privilege or the substance of the -- the actual

10     substance of the notice.                                  12:16:01

11               Is that not correct, Counsel Falconer?

12               MR. FALCONER:     Yeah, that's correct.

13               SPECIAL MASTER GARRIE:        And he has

14     instructed the witness accordingly.        So...

15          Q.   (By Ms. Weaver)     Do you see where it         12:16:13

16     says, Mr. Duffey, "suspend auto deletion routine"?

17          A.   Yes.

18          Q.   Do you know if prior to June 16th, 2020,

19     auto deletion routines were suspended with regard

20     to litigation holds issued relating to this matter?       12:16:30

21          A.   There are -- there are only a couple data

22     sources that -- that I am aware of that have a

23     retention schedule.

24               So I'm not sure I -- I understand -- I

25     understand the question.                                  12:17:12

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1           Q.      I'm just asking if prior to June 16th,        12:17:17

2      2020, there were auto deletion routines that were

3      not suspended with regard to preserving ESI related

4      to this matter that were then suspended in -- on

5      June 16th, 2020.                                           12:17:34

6           A.      I'm not aware of any.

7           Q.      What auto deletion routine did you refer

8      to when you wrote that bullet point?

9                   MR. FALCONER:     Objection.     Form.

10                  THE DEPONENT:     I believe that that is in   12:18:19

11     reference to the use of ephemeral messaging.

12          Q.      (By Ms. Weaver)     And what is ephemeral

13     messaging?

14          A.      Ephemeral messaging is a -- a way for

15     which a -- a user of a communications app, like            12:18:47

16     WhatsApp, for instance, could set a auto deletion

17     schedule on their messages.

18          Q.      And do you know if any of the 392

19     custodians identified to preserve ESI in connection

20     with this litigation used ephemeral messaging?             12:19:20

21                  MR. FALCONER:     Objection.     Beyond the

22     scope.

23                  THE DEPONENT:     I -- I can think of one

24     custodian that -- that -- that may have been using

25     ephemeral messaging at the time this notice went           12:20:10

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1      out.                                                       12:20:14

2             Q.   (By Ms. Weaver)     Who was that?

3                  MR. FALCONER:     Same objection.

4                  THE DEPONENT:     I believe Mark Zuckerberg

5      may have been using ephemeral messaging.                   12:20:31

6             Q.   (By Ms. Weaver)     And what's the basis for

7      that belief?

8                  MR. FALCONER:     Same objection.

9                  And, again, Mr. Duffey, if -- caution you

10     again, as I have before, any privileged                    12:20:49

11     communications or privileged information you have

12     on that shouldn't form part of your answer.

13                 THE DEPONENT:     I don't think I can answer

14     that question.

15            Q.   (By Ms. Weaver)     Do you know if any other   12:21:14

16     Facebook executive used ephemeral messaging during

17     the pendency of this litigation?

18                 MR. FALCONER:     Objection.     Beyond the

19     scope.

20                 THE DEPONENT:     I'm -- I'm not sure I        12:21:34

21     understand the question.

22            Q.   (By Ms. Weaver)     Did Sheryl Sandberg use

23     ephemeral messaging during the pendency of this

24     litigation?

25                 MR. FALCONER:     Objection.     Beyond the    12:21:42

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1      scope.                                                    12:21:42

2                 And, again, my same instruction as

3      before.   You know, privileged information or

4      knowledge of a privilege communication, that

5      shouldn't form a part of your answer.                     12:21:53

6                 THE DEPONENT:     I -- I think the -- part

7      of the reason why I'm struggling with the question

8      is just -- you're naming employees of the company,

9      and I need to know whether or not they are on legal

10     hold for the Cambridge Analytica multi-district           12:22:09

11     litigation.

12          Q.    (By Ms. Weaver)     And do you have a list

13     or does someone have a list -- well, strike that.

14                Does Facebook have a list of who received

15     the legal hold notifications that you discuss in          12:22:23

16     Exhibit 386?

17          A.    A list could be generated from -- from

18     our legal hold tool.

19          Q.    And you could identify from that list

20     whether or not any of those individuals used              12:22:41

21     ephemeral messaging; is that correct?

22                MR. FALCONER:     Objection.     Beyond the

23     scope.

24                THE DEPONENT:     No, I couldn't identify

25     from the list whether or not the custodians were          12:22:56

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1      using or are using ephemeral messaging, no.                12:22:59

2              Q.   (By Ms. Weaver)     Did Facebook take steps

3      to determine whether or not custodians subject to

4      the legal hold in this case were using ephemeral

5      messaging?                                                 12:23:15

6              A.   Yes, that -- those questions are asked as

7      part of custodian interviews.         We instruct our

8      custodians to not delete any information or data

9      relevant to a legal matter if -- we also instruct

10     the custodians to notify the legal team and                12:23:58

11     E-discovery if they are aware of information,

12     documents, ESI are being deleted or have been

13     deleted.

14                  So those -- those are samples of steps

15     that -- that we undertake as a -- a E-discovery            12:24:25

16     team.

17             Q.   What ephemeral messaging platform was

18     Mr. Zuckerberg using?

19                  MR. FALCONER:     Objection.     Beyond the

20     scope.                                                     12:24:38

21                  THE DEPONENT:     The only one that I can

22     think of is -- is WhatsApp.

23             Q.   (By Ms. Weaver)     And was any -- well,

24     strike that.

25                  And looking at back at Exhibit 385, it        12:25:06

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1      defines "ephemeral messaging," doesn't it?                12:25:11

2           A.   Yes.

3           Q.   And what does the policy say about

4      ephemeral messaging?

5           A.   It says "once receiving a legal hold,           12:25:59

6      custodians should not use ephemeral messaging to

7      communicate relevant information and preserve --

8      should preserve any existing relevant information

9      that would otherwise auto delete or disappear after

10     a short period of time."                                  12:26:14

11               I -- I am aware of our electronic

12     communications policy where there are exceptions to

13     the use of ephemeral messaging.

14          Q.   And what are these --

15          A.   But that's --                                   12:26:38

16               I'd have to -- I'd have to have the

17     document in front of me.

18          Q.   Okay.

19               (Exhibit 387 was marked for

20     identification by the court reporter and is               12:26:57

21     attached hereto.)

22               MS. WEAVER:     Let's mark tab 48 as

23     Exhibit 387.

24          Q.   (By Ms. Weaver)     And while we're

25     waiting -- well, let me --                                12:27:54

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1            A.   I think it just appeared.                      12:27:57

2            Q.   Apologies.

3            A.   I'm sorry.     I didn't hear.

4            Q.   I didn't hear what you said either.

5            A.   Oh.                                            12:28:05

6            Q.   Do you have Exhibit 387?

7            A.   I do now.

8            Q.   Great.

9                 Do you recognize it?

10           A.   Yes.                                           12:28:16

11           Q.   Is this the document you were referring

12     to?

13           A.   No.     No, I was referring to the

14     electronic communications policy.

15           Q.   Okay.     Well, just for the moment, what is   12:28:30

16     the -- what is Exhibit 387?

17           A.   It is the email and Workplace Chat

18     retention policy.

19                MS. WEAVER:     And, Josh, will you please

20     mark tab 26 as Exhibit 388.                               12:28:47

21                (Exhibit 388 was marked for

22     identification by the court reporter and is

23     attached hereto.)

24           Q.   (By Ms. Weaver)     And let me know when you

25     have it.                                                  12:29:38

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1           A.    I have it now.                                 12:29:49

2           Q.    And what is Exhibit 388?

3           A.    That is the electronic communications

4      policy.

5           Q.    And it defines "ephemeral messaging"; is       12:29:58

6      that correct?      At the Bates number ending at -463?

7           A.    It does.

8           Q.    And at paragraph 3.3 it says "ephemeral

9      messaging means messaging that automatically

10     disappears or expires from the recipient's screen         12:30:13

11     after a period of time"; is that correct?

12          A.    Yes, that's correct.

13          Q.    And 3.2 defines business communication as

14     "substantive work-related electronic communications

15     made and/or received by Meta personnel for the            12:30:32

16     purposes of communicating about -- communicating

17     about or conducting Meta business."

18                Do you see that?

19          A.    I do.

20          Q.    And is this a document that you were           12:30:44

21     referring to earlier?

22          A.    That is the document I was referring to

23     earlier.   I was specifically thinking of section

24     6 at Bates number -466 to -467, in section 6.1

25     where it -- where it has a paragraph regarding            12:31:13

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1      exceptions.                                                 12:31:19

2           Q.    And what do you understand the exceptions

3      to be?

4           A.    That -- that legal can preauthorize these

5      exceptions to protect, for instance, highly                 12:31:35

6      sensitive information related to investigations or

7      security and to protect the safety or security of

8      an individual, data, and/or facilities.

9           Q.    Is it your understanding that

10     Mark Zuckerberg was exempted from this policy in            12:31:55

11     general?

12                MR. FALCONER:     I'm going to object to

13     that question as beyond the scope of the notice.

14                And also, Mr. Duffey, remind you not to

15     reveal any privileged information or privileged             12:32:06

16     communication that would answer that question.

17                THE DEPONENT:     I don't know the answer to

18     the question.

19          Q.    (By Ms. Weaver)     When did this policy

20     take effect for the first time?                             12:32:20

21          A.    Which policy are we referring to?

22          Q.    The policy regarding ephemeral messaging.

23          A.    Are -- are we talking about the

24     electronic communications policy?

25          Q.    Sure.   We can say that.      Let's start with   12:32:48

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1      that.                                                      12:32:49

2                      At what point in time did the electronic

3      communications policy first take effect?

4              A.      I believe we've had an electronic

5      communications policy prior to the pendency of this        12:33:13

6      case.        I don't know when -- when -- when it was

7      first created, though.

8              Q.      Was it a written policy?

9              A.      I believe so, yes.

10             Q.      And have you seen it in preparation for    12:33:35

11     your deposition today?

12             A.      I don't understand the question.

13             Q.      Have you reviewed a written policy --

14     strike that.

15                     You've testified that there was a -- an    12:33:57

16     electronic communications policy prior to the

17     pendency of this case, correct?

18             A.      That is my understanding, yes.

19             Q.      Have you ever reviewed it in writing?

20             A.      I don't know that I reviewed it in         12:34:20

21     preparation for this deposition, but I am fairly

22     certain that I had reviewed it as part of the,

23     you know, normal course of business, yes.

24             Q.      And what was the substance of that

25     policy?                                                    12:34:38

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1                MR. FALCONER:     Objection.     Beyond the     12:34:43

2      scope of the notice.

3                But go ahead, Mike.

4                THE DEPONENT:     I don't recall beyond the

5      substance being related to, you know, guidance            12:34:56

6      and -- and policies surrounding electronic

7      communications.

8           Q.   (By Ms. Weaver)     Did that policy

9      specifically address ephemeral messaging?

10               MR. FALCONER:     Same objection.               12:35:09

11               THE DEPONENT:     I don't know.

12          Q.   (By Ms. Weaver)     It would be possible to

13     find that policy and produce it in this action,

14     wouldn't it?

15               MR. FALCONER:     Objection.     Beyond the     12:35:21

16     scope of the notice.

17               THE DEPONENT:     Yes, I believe so.

18          Q.   (By Ms. Weaver)     Are you aware of any

19     policy specifically addressing ephemeral messaging

20     prior to November 16th, 2021?                             12:35:40

21          A.   I'm not sure.

22          Q.   Were Mark Zuckerberg's ephemeral messages

23     subject to litigation hold in this case?

24          A.   I don't know.

25          Q.   Who would know?                                 12:37:10

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1           A.     The usual way we would identify any           12:37:28

2      relevant ESI would be through custodian interview.

3           Q.     And looking back again at Exhibit 385, in

4      the definition of "relevant information," you see

5      that WhatsApp messages are specifically defined           12:37:43

6      there, correct?

7           A.     Yes.

8           Q.     Do you know if the litigation hold issued

9      in this case in March of 2018 referenced WhatsApp

10     messages?                                                 12:37:58

11                 MR. FALCONER:     So, again, I'm going to

12     instruct the witness not to any answer question for

13     privilege and work product reason about the

14     language of the hold notice.

15                 THE DEPONENT:     I don't know.               12:38:14

16          Q.     (By Ms. Weaver)     Were WhatsApp messages

17     preserved in connection with this litigation from

18     March 2018 to today?

19          A.     It is up to the custodian to preserve

20     relevant information, and that would include              12:38:33

21     WhatsApp messages.

22          Q.     Do you see a reference in Exhibit 285 or

23     385 to Facebook messages as well?

24          A.     Yes.

25          Q.     Is it up to the custodian to delete           12:39:00

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1      Facebook messages?                                         12:39:02

2                  MR. FALCONER:     Objection.     Form.

3                  THE DEPONENT:     I don't understand the

4      question.

5           Q.     (By Ms. Weaver)     Well, you said it is up    12:39:13

6      to the custodian to preserve relevant information,

7      including WhatsApp messages, correct?

8           A.     Yes.

9           Q.     Is it up to the custodian to preserve

10     Facebook Messenger messages?                               12:39:26

11          A.     Yes.   However, employee-to-employee

12     Facebook Messenger messages were -- were captured

13     using our -- our email and work chat archive up to,

14     I believe, March 2019.

15          Q.     And does that include an archive for           12:40:14

16     Mr. Zuckerberg?

17          A.     I believe --

18                 MR. FALCONER:     That's beyond the scope of

19     the notice.

20                 But go ahead.                                  12:40:31

21                 THE DEPONENT:     I believe -- I believe

22     Mark has been on legal hold for this matter since

23     the original legal hold notice went out.

24          Q.     (By Ms. Weaver)     He was named as a

25     defendant initially, correct?                              12:40:40

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1           A.     I don't know.                                  12:40:44

2           Q.     Are you aware that at a certain point in

3      time, Mr. Zuckerberg had the ability to delete

4      messages in his Facebook Messenger box?

5                  MR. FALCONER:     Objection.     Beyond the    12:41:07

6      scope of the notice.

7                  THE DEPONENT:     I don't understand the

8      question.

9           Q.     (By Ms. Weaver)     Are you aware if at any

10     point in time following the filing of this                 12:41:19

11     lawsuit -- well, strike that.

12                 Are you aware of whether or not Facebook

13     executives had the ability to delete Facebook

14     messages contained within their message in-box?

15                 MR. FALCONER:     Objection.     Beyond the    12:41:43

16     scope of the notice.

17                 THE DEPONENT:     Employees can delete their

18     Facebook Messenger messages.

19          Q.     (By Ms. Weaver)     Are you aware of whether

20     or not at any point in time Mr. Zuckerberg had the         12:42:11

21     power to delete his messages in other Facebook

22     users' in-boxes?

23                 MR. FALCONER:     Objection.     Beyond the

24     scope of the notice.

25                 THE DEPONENT:     No.                          12:42:29

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1              Q.   (By Ms. Weaver)     Are you aware of whether   12:42:29

2      at any point in time Facebook users using the

3      Download Your Information tool became aware that

4      Facebook messages they exchanged with

5      Mark Zuckerberg were no longer there?                       12:42:42

6                   MR. FALCONER:     Objection.     Form and

7      beyond the scope of the notice.

8                   THE DEPONENT:     I -- I -- I don't -- I

9      didn't follow that question.

10             Q.   (By Ms. Weaver)     Sure.                      12:42:56

11                  Are you aware of whether at any point in

12     time Facebook users could see, using the Download

13     Your Information tool, that Facebook messages they

14     exchanged with Mr. Zuckerberg had been deleted?

15                  MR. FALCONER:     Same two objections.         12:43:13

16                  THE DEPONENT:     I don't know.

17             Q.   (By Ms. Weaver)     Do you know if

18     Mr. Zuckerberg or someone on his behalf deleted

19     messages from Mr. Zuckerberg in the Facebook

20     Messenger in-box of other users?                            12:43:25

21                  MR. FALCONER:     Same two objections.

22                  THE DEPONENT:     I don't know the answer to

23     that.

24             Q.   (By Ms. Weaver)     Do you know who would

25     know?                                                       12:43:36

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1           A.    No.                                               12:43:39

2                 MR. FALCONER:     Same objection.      Beyond

3      the scope of the notice.

4                 MS. WEAVER:     Okay.     I think we can break

5      for lunch if you would like.                                 12:43:56

6                 MR. FALCONER:     Okay.

7                 THE VIDEOGRAPHER:        Okay.   We're off the

8      record.   It's 12:44 p.m.

9                 (Recess taken.)

10                THE VIDEOGRAPHER:        Okay.   We're back on    01:18:05

11     the record.      It's 1:18 p.m.

12          Q.    (By Ms. Weaver)        Mr. Duffey, did you have

13     a delightful lunch?

14          A.    I did.     Thank you.

15          Q.    Excellent.                                        01:18:13

16                (Discussion off the stenographic record.)

17          Q.    (By Ms. Weaver)        You understand you're

18     still under oath, correct?

19          A.    Yes, I do.

20          Q.    Do you know whether or not any directors          01:18:33

21     or executives subject to the litigation hold in

22     this case used Wickr or HipChat or programs that

23     had self-destruction features?

24                MR. FALCONER:     Objection.      Form and

25     beyond the scope of the notice.                              01:18:52

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1                   THE DEPONENT:     No, I am not.              01:18:58

2           Q.      (By Ms. Weaver)     And you testified that

3      you reviewed correspondence between plaintiffs'

4      counsel and Gibson Dunn in this case, correct?

5           A.      I did.                                       01:19:09

6           Q.      And I'll ask you to take a look at what

7      we've marked as Exhibit 389.

8                   (Exhibit 389 was marked for

9      identification by the court reporter and is

10     attached hereto.)                                         01:19:20

11                  MS. WEAVER:     And while it's pulling up

12     and the record, this is a letter dated September 6,

13     2018, from Gibson Dunn to me and to Mr. Loeser in

14     this case.

15          Q.      (By Ms. Weaver)     And let me know when     01:19:44

16     you've had a chance to review it.

17          A.      Okay.    It just appeared.     Let me --

18                  Okay.

19          Q.      Have you seen this letter before?

20          A.      I don't recall.                              01:20:16

21          Q.      Do you know if it was identified by

22     Mr. Falconer in emails preparing for this -- for

23     this deposition today?

24          A.      Can you -- can you repeat the question.

25          Q.      Do you know if this was one of the pieces    01:20:34

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1      of correspondence identified by Mr. Falconer as           01:20:37

2      something you had reviewed in preparation for your

3      deposition today?

4           A.   I don't know.

5           Q.   And did you review this letter?                 01:20:51

6           A.   I don't recall.

7           Q.   I'll direct your attention to page 2 of

8      the letter.   And by way of explanation, in this

9      letter Gibson Dunn is responding to questions

10     interposed by plaintiffs' counsel, and in No. 6 in        01:21:13

11     italics it has a quote from correspondence we sent

12     to Gibson Dunn.

13               It says "Your August 17th letter states

14     that 'counsel is unaware of the use of Wickr or

15     HipChat or other similar programs that include            01:21:29

16     self-destruction features by any employees who were

17     issued the litigation hold notices.'"

18               Does that statement apply to directors

19     and executives as well?

20               Do you see that?                                01:21:42

21          A.   Yes.

22          Q.   And then counsel responded "Yes.         That

23     statement applies to directors and executives to

24     whom the litigation notice were issued."

25               Do you see that?                                01:21:55

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1           A.   Yes.                                            01:21:56

2           Q.   Do you know if that's true?

3           A.   As of the date of this letter on

4      September 6, 2018, I have -- I have no reason to

5      believe that it's not true.                               01:22:17

6           Q.   Are you aware that at some point in time

7      Mark Zuckerberg began using programs that had a

8      self-destruction feature?

9                MR. FALCONER:     Objection.     Beyond the

10     scope.                                                    01:22:31

11               THE DEPONENT:     I don't know.

12               MS. WEAVER:     Okay.

13               Counsel, we'll ask that you respond to

14     that question.

15               We can do it outside of the deposition.         01:22:42

16               (Exhibit 390 was marked for

17     identification by the court reporter and is

18     attached hereto.)

19               MS. WEAVER:     We'll mark as tab 77 the

20     next exhibit.    That will be Exhibit 390.                01:22:47

21          Q.   (By Ms. Weaver)     While you're --

22               Are you familiar with an archiving system

23     called Proofpoint?

24          A.   Yes, I am.

25          Q.   What is that?                                   01:23:31

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1           A.   Proofpoint is our email and work chat           01:23:38

2      archiving tool.

3           Q.   And how does it function?

4                MR. FALCONER:     Objection.     Form.

5                THE DEPONENT:     On a daily basis, emails      01:24:14

6      and work chats are stored within Proofpoint for a

7      retention period that includes legal holds.

8           Q.   (By Ms. Weaver)     Okay.

9                And do you have Exhibit 390 now?

10          A.   I do.                                           01:24:46

11               MS. WEAVER:     And I'll state for the

12     record that this is a letter dated December 9,

13     2019, from Gibson, Dunn & Crutcher, again to myself

14     and Mr. Loeser in this case.

15          Q.   (By Ms. Weaver)     Have you seen this          01:25:00

16     document before?

17          A.   It looks familiar.      I'm -- I'm not

18     100 percent sure.

19          Q.   Do you understand it to be one of the

20     letters that Mr. Falconer indicated you would be          01:25:38

21     prepared to discuss today?

22          A.   I -- I'm not sure.

23          Q.   Okay.     I'll direct your attention to page

24     5 at No. 11.

25          A.   Okay.                                           01:25:56

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1           Q.   Okay.     And do you see in paragraph 11        01:25:58

2      where it says "As we have explained previously,

3      Facebook is preserving Exchange, Facebook

4      Messenger, and Facebook Workplace communications

5      (which are automatically archived in Proofpoint)."        01:26:16

6                And then "Facebook is preserving

7      additional data stored through online sources,

8      including Quip, Dropbox, Workplace Groups, internal

9      web pages, company Wikis, and O365.        Facebook is

10     also preserving identified data stored on specific        01:26:36

11     individual devices, including laptops, desktops,

12     mobile devices, and tablets."

13               Do you see that?

14          A.   Yes.

15          Q.   Were WeChat messages achieved in                01:26:47

16     Proofpoint?

17          A.   WeChat messages are not archived in

18     Proofpoint.

19          Q.   Are WhatsApp messages archive in

20     Proofpoint?                                               01:27:12

21          A.   No.

22          Q.   Are they archived anywhere?

23          A.   WhatsApp messages are stored on -- on a

24     user's phone.     It is up to the custodian to

25     preserve any -- any messages that would be relevant       01:27:34

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1      to the legal hold notice issued to the custodians.           01:27:45

2           Q.     Okay.

3                  I'll ask you to turn back to 3 --

4      Exhibit 385.       And I'm looking at the definition of

5      "relevant information" again.                                01:28:13

6           A.     Okay.

7           Q.     And specifically, there's that long list

8      of items where it begins with "email, Workplace

9      Chats and Groups."

10                 Do you see that?                                 01:28:22

11          A.     Yes.

12          Q.     I'd like to just go through and give

13     those kinds of ESI, if you don't mind.

14                 So email, we discussed.       That is archived

15     in Proofpoint; is that right?                                01:28:32

16          A.     It is, correct.

17          Q.     Workplace Chats and Groups, is that

18     archived in Proofpoint?

19          A.     Workplace Chats are -- are archived in

20     Proofpoint.     Groups are not.                              01:28:47

21          Q.     And what are Groups?

22          A.     I use that sort of Groups example for

23     Facebook.     Similarly Workplace, which is a Meta

24     product used within the company that is very

25     similar to Facebook in that you can join groups              01:29:14

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1      relevant to your work or interests and -- and             01:29:23

2      that's what Groups are in reference to -- in this

3      definition of "relevant information."

4           Q.    Were Groups searched for and preserved in

5      the collection of ESI related to this litigation?         01:29:47

6                 MR. FALCONER:     Objection.     Form.

7                 THE DEPONENT:     Yes.   When a custodian

8      identifies a Workplace Group or Workplace Groups

9      relevant to a matter, the E-discovery team will

10     take a snapshot of that Workplace Group and               01:30:17

11     preserve it.

12                Otherwise, Workplace Groups are not

13     subject to a retention period.         Posts within a

14     Workplace Group remain unless deleted by a user who

15     has access to that point.                                 01:30:49

16          Q.    (By Ms. Weaver)     And why aren't they

17     subject to retention?

18          A.    Because --

19                MR. FALCONER:     Objection.     Form.

20                But go ahead.                                  01:30:59

21                THE DEPONENT:     There is no retention

22     period.   They will live in perpetuity unless a

23     person who posts within that group deletes

24     information within that Workplace Group.

25          Q.    (By Ms. Weaver)     Okay.     Were OneDrive,   01:31:25

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1      Dropbox, Axe, SharePoint, and Google Drive all            01:31:32

2      subject to litigation hold in this case?

3           A.    They are data sources that company

4      personnel uses.   These are cloud-based third-party

5      data sources that are, again, not subject to a            01:32:05

6      retention period, disposition period.         Those

7      documents and within those cloud sources remain

8      accessible unless -- unless deleted from -- from

9      those data sources.

10          Q.    And the same is true for Quips?                01:32:38

11          A.    That's correct.

12                I do want to say one clarifying thing:

13     That all -- all custodians are, you know, told to

14     preserve any relevant information stored in any

15     data source, including all of these cloud-based           01:33:03

16     sources.   The E-discovery team has the ability to

17     collect deleted items as well.

18          Q.    And how do they collect deleted items?

19          A.    They would be collected through the admin

20     tool for these particular cloud sources.                  01:33:29

21          Q.    And do you mean each cloud source has its

22     own admin tool?

23          A.    I believe that's correct.

24          Q.    Were any -- was any deleted ESI collected

25     in this case?                                             01:33:48

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1                   MR. FALCONER:     Objection.     Beyond the     01:33:52

2      scope of the notice.

3                   Go ahead, Mike.

4                   THE DEPONENT:     I'm not aware of any

5      instance where a custodian indicated that a                  01:34:09

6      relevant ESI would have been deleted.           So I'm not

7      sure I can answer that question.

8           Q.      (By Ms. Weaver)     And is the reference

9      here to Facebook messages the same as Facebook

10     Messenger?                                                   01:34:41

11          A.      Yeah, I -- I believe it's in reference to

12     Facebook Messenger messages.

13          Q.      And you see a reference here to hard copy

14     files; is that right?

15          A.      Yes.                                            01:34:59

16          Q.      What does that mean?

17          A.      Paper files, written notes, not

18     electronic files.

19          Q.      Were hard copy files preserved and

20     searched for production in this litigation?                  01:35:19

21          A.      Yes.   Our custodians are instructed to

22     preserve all relevant information, and that

23     includes hard copy files.        If a custodian

24     identifies that they have hard copy files relevant,

25     then the E-discovery team would collect and scan             01:35:46

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1      and preserve those relevant hard copy files.              01:35:51

2              Q.   Do you know if Facebook has preserved any

3      notebooks or notes in hard copy files in response

4      to this litigation?

5              A.   Can you repeat the question.                 01:36:17

6              Q.   Do you know if Facebook preserved any

7      notebooks or notes in hard copy files in connection

8      with this litigation?

9              A.   I believe so.

10             Q.   And what -- what do you recall about         01:36:34

11     that?

12             A.   As I mentioned, through the custodian

13     interview process, if a custodian identifies hard

14     copy files as something they have and is relevant

15     to a matter, the E-discovery team would collect and       01:36:58

16     scan those materials.

17             Q.   And I'm asking, I guess, specifically,

18     are you aware of any specific hard copy documents

19     that you know were preserved for this case?

20             A.   I believe that we have collected hard        01:37:28

21     copy files.     I couldn't tell you the names of the

22     custodians or what the content of those hard copy

23     files were, but I do recall that that was -- that

24     is -- that has been a data -- data source that we

25     have collected from.                                      01:37:50

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1           Q.   Are you aware of whether or not there was       01:37:53

2      a search in 2018 for notebooks maintained by

3      Mr. Zuckerberg?

4           A.   I don't know that.

5           Q.   Are you aware of it at all?                     01:38:07

6           A.   No.

7           Q.   Turning back to Exhibit 390.

8           A.   Okay.

9           Q.   Turning to page 7 at No. 7, do you see it

10     says "the relevant subject matter identified in the       01:39:03

11     litigation holds and any updates thereto"?

12               Do you see that?

13          A.   I do.

14          Q.   And then do you see the paragraph that

15     says "Without waiving Facebook's attorney-client          01:39:13

16     privilege, Facebook responds that the litigation

17     hold notice requires the preservation of documents

18     potentially relevant to the litigation and

19     regulatory proceedings stemming from the

20     Cambridge Analytica events, including Aleksandr           01:39:28

21     Kogan's use of the Facebook Platform and

22     collaboration with Cambridge Analytica; access to

23     and potential misuse of Facebook user data by

24     Cambridge Analytica and other third-party apps;

25     Facebook's device integration partnerships;               01:39:47

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1      agreements between Facebook and third parties             01:39:51

2      regarding access to user data; and internal

3      investigations or audits into alleged misuse of

4      user data by third parties."

5                 Do you see that?                               01:40:04

6           A.    Yes.

7           Q.    Do you know if Facebook updated the

8      relevant subject matter and litigation holds to

9      include, for example, discussions of exchange of

10     data with data brokers?                                   01:40:15

11                MR. FALCONER:     So, again, I'm going to

12     instruct Mr. Duffey not to any question about the

13     language that was included in any version of the

14     legal hold on privilege and work product basis.

15                MS. WEAVER:     And to clarify, even though    01:40:28

16     he wrote a letter in 2019 defining what was in the

17     litigation hold?

18                SPECIAL MASTER GARRIE:       Noted for the

19     record.   We will move forward.

20                Counsel [sic] Duffey received instruction      01:40:44

21     from counsel.     Please advise if you want to respond

22     accordingly.

23                MR. FALCONER:     So, Mr. Duffey, my

24     instruction to you is not to answer that question

25     on work product and privilege grounds.                    01:40:58

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1                      THE DEPONENT:     I'll take counsel's         01:41:02

2      instructions.

3              Q.      (By Ms. Weaver)     And going back to

4      Exhibit 386.

5                      Do you see -- I'm looking back at the         01:41:32

6      sixth issued litigation hold sent on September 3,

7      2021.        And you have a bullet point there that says

8      "




10                     Do you see that?                              01:41:45

11             A.      Yes.

12             Q.      Do you know whether WhatsApp added

13     ephemeral messages as an optional feature in

14     November of 2020?

15                     MR. FALCONER:     Objection.     Beyond the   01:42:00

16     scope of the notice.

17                     THE DEPONENT:     I do not know that.

18             Q.      (By Ms. Weaver)     Do you know if anyone

19     subject to the litigation hold in this case used

20     ephemeral messaging on WhatsApp during the pendency           01:42:10

21     of this case?

22                     MR. FALCONER:     Objection.     Beyond the

23     scope.

24                     THE DEPONENT:     Other than my earlier

25     testimony, I'm -- I'm not aware of any custodians             01:42:38

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1      using ephemeral messaging.                                      01:42:43

2           Q.   (By Ms. Weaver)     Okay.

3                Did Facebook send litigation holds or

4      preservation letters to any third parties relating

5      to this case?                                                   01:42:55

6           A.   I don't know.

7           Q.   Do you know if Facebook sent preservation

8      letters to FTI or Stroz?

9                MR. FALCONER:     I'm going to object to

10     that as beyond the scope of the notice.                         01:43:24

11               THE DEPONENT:     Can you -- can you repeat

12     the question.

13          Q.   (By Ms. Weaver)     Yes.    No problem.

14               Did Facebook send preservation letters to

15     FTI Consulting or Stroz?                                        01:43:39

16               MR. FALCONER:     Same objection.

17               THE DEPONENT:     Yes, I believe so.         The --

18     the individuals from either FTI or Stroz who had

19     an -- who had an FB.com email address received

20     litigation holds, preservation notices.                         01:44:27

21          Q.   (By Ms. Weaver)     And did anyone from PwC

22     or EY also receive preservation notices in

23     connection with this litigation?

24          A.   I don't know.

25          Q.   Do you know if members of the ADI                     01:44:56

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1      custodian list created by Facebook received the               01:44:59

2      litigation hold in this case?

3                   MR. FALCONER:     Objection.     Form.

4                   But you can go ahead, Mike.

5                   THE DEPONENT:     Do you mind repeating the      01:45:17

6      question, please.

7           Q.      (By Ms. Weaver)     Are you aware of a group

8      of custodians being identified by Facebook as "EDI

9      custodians"?

10                  MR. FALCONER:     Objection.     Form.           01:45:26

11                  THE DEPONENT:     I know -- I know there is

12     a legal hold notice called "the app developer

13     investigation."

14          Q.      (By Ms. Weaver)     And do you know when the

15     legal hold notice was sent to EDI custodians in               01:45:45

16     this case?

17                  MR. FALCONER:     Objection.     Form.

18                  But go ahead, Mike.

19                  THE DEPONENT:     I -- I -- I couldn't

20     answer when EDI custodians would have received the            01:46:00

21     Cambridge Analytica litigation hold notice.

22          Q.      (By Ms. Weaver)     Thank you.     I apologize

23     for interrupting.

24                  Do you know whether they received the

25     first litigation hold letter, or was it later in              01:46:16

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1      time?                                                          01:46:20

2              A.   I don't know.

3              Q.   Do you know who would know?

4              A.   We have a reporting mechanism within the

5      Legal Hold Pro tool that would show -- generate a              01:46:37

6      list of legal hold custodians and when they first

7      received the preservation notice.

8                   MS. WEAVER:     Okay.   Thank you.     Let's --

9                   We're going to mark as Exhibit 391.

10                  (Exhibit 391 was marked for                       01:47:05

11     identification by the court reporter and is

12     attached hereto.)

13                  MS. WEAVER:     This will be tab 32,

14     Mr. Samra.     This is a document bearing Bates

15     numbers ADVANCE-META -504 through -509.                        01:47:11

16             Q.   (By Ms. Weaver)     And when it's up, if you

17     could just tell me what it is, that would be

18     helpful.

19             A.   It still hasn't arrived.

20             Q.   I have --                                         01:48:29

21             A.   I just got it.

22                  Is it Exhibit 391?

23             Q.   Exactly, yes.

24             A.   This is US privacy program records

25     management policy.                                             01:48:40

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1              Q.   And when did it first take effect?             01:48:42

2              A.   April 20, 2021.

3              Q.   And was there such a policy prior to that

4      time?

5              A.   I'm not aware of a prior version of the        01:49:16

6      US privacy program records management policy.

7              Q.   And was there an informal policy that

8      addressed the issues covered in the US privacy

9      program records management policy prior to the time

10     that -- when Exhibit 32 was implemented?                    01:49:32

11                  MR. FALCONER:     Objection.     Beyond the

12     scope.

13                  THE DEPONENT:     I'm aware of the -- the

14     existence of a US privacy program prior to this

15     policy going into effect, but I'm not aware of --           01:49:52

16     of a written formal policy that existed prior to

17     this.

18                  (Exhibit 392 was marked for

19     identification by the court reporter and is

20     attached hereto.)                                           01:50:00

21                  MS. WEAVER:     And now we're marking

22     Exhibit 392, which for the record is

23     ADVANCE-META -516 through -531.

24                  THE DEPONENT:     I have it now.

25             Q.   (By Ms. Weaver)     And what is Exhibit 392?   01:50:40

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1           A.   Exhibit 392 is the US privacy program           01:50:45

2      records retention schedule.

3           Q.   And when did it first take effect?

4           A.   April 20th, 2021.

5           Q.   And prior to April 20th, 2021, was there        01:51:13

6      a records retention schedule similar to the one

7      reflected in Exhibit 392?

8                MR. FALCONER:     Objection.     Form.

9                THE DEPONENT:     I don't believe so.

10          Q.   (By Ms. Weaver)     And so do you see in the    01:51:42

11     first paragraph it says, in the second sentence,

12     "The records that the US privacy program must

13     retain are audit records and reports, consumer

14     inquiry and response records, contracts/agreements

15     and third-party assessment records, data subject          01:52:01

16     requests, government relations and policy records,

17     incident and investigation records (permanent),

18     incident and investigation records (temporary),

19     policies and procedures, privacy program operations

20     records, privacy review and decision records, risk        01:52:20

21     assessments and remediation and response records,

22     training records, user consent records, and user

23     privacy communications and statements external"?

24               Do you see that?

25          A.   I do.                                           01:52:37

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1           Q.   And so this paragraph reflects that as of       01:52:37

2      April 20th, 2021, Facebook required that the

3      company retain those records that I just read into

4      the record, correct?

5           A.   Yes, under the retention schedule that is       01:53:05

6      laid out throughout the document.

7           Q.   So prior to the time that Exhibit 392

8      took effect, what was the retention schedule for

9      consumer inquiry and response records?

10               MR. FALCONER:     Objection.     Form.          01:53:24

11               THE DEPONENT:     I'm not aware of -- of a,

12     you know, similar retention schedule that preceded

13     this document, so I -- I don't know the answer to

14     the question.

15          Q.   (By Ms. Weaver)     Do you see a reference      01:54:03

16     to "user consent records"?

17          A.   I do.

18          Q.   What -- what does that mean?

19          A.   "User consent records are records related

20     to user consents, preferences, and settings               01:54:48

21     specific to legal, regulatory obligations, which

22     constitutes user consent, preference, and setting

23     records responsive to the FTC order."

24          Q.   And are you reading from the record

25     series description at page 529?                           01:55:06

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1           A.    I am.                                              01:55:11

2           Q.    Prior to the time that Exhibit 392 took

3      effect in April 20th, 2021, did Facebook preserve

4      those records that you just described?

5                 MR. FALCONER:     Objection.     Form.             01:55:24

6                 THE DEPONENT:     If they were the subject

7      of legal or regulatory obligations or the subject

8      of legal hold, they would have been preserved.          I'm

9      not aware of a -- a prior retention disposition

10     schedule for these types of records.                          01:56:02

11          Q.    (By Ms. Weaver)     And do you know for this

12     case whether these records were preserved?

13                MR. FALCONER:     Objection.     Form.

14                But go ahead, Mike.

15                THE DEPONENT:     I don't know.                    01:56:26

16          Q.    (By Ms. Weaver)     Who would know?

17          A.    I think that would be like an -- an

18     inquiry that would be conducted between our

19     in-house and outside counsel and the E-discovery

20     team and any custodians working on these types of             01:56:59

21     records.

22          Q.    And with regard to these records, where

23     it says "user consent," does that mean every

24     Facebook user?

25          A.    I'd -- I'd want to look at the file plan           01:57:31

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1      associated with the US privacy program records            01:57:35

2      management policy to confirm that.       I don't know

3      the answer.

4            Q.   What is a file plan?

5            A.   That is a spreadsheet that is part of the      01:57:58

6      US privacy program records management policy.

7      It's --

8                 MS. WEAVER:    Josh --

9                 That's fine.    I think we have.

10                Josh, can you mark, please, tabs 37 and        01:58:18

11     38.

12                (Exhibit 393 was marked for

13     identification by the court reporter and is

14     attached hereto.)

15                (Exhibit 394 was marked for                    01:58:22

16     identification by the court reporter and is

17     attached hereto.)

18                MS. WEAVER:    These, for the record, will

19     be Exhibits 392 and 393.     Exhibit 392 bears the

20     words "US privacy program records retention               01:58:53

21     schedule" and bears Bates numbers ADVANCE-META -555

22     through -568.

23                And Exhibit 393 is a spreadsheet that

24     says "Meta US privacy program records file plan"

25     bearing Bates number -569 to -577.                        01:59:12

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1                  THE DEPONENT:     I'm not sure -- can we        01:59:26

2      read that back?    Because I'm not mapping to the

3      exhibit number and the Bates numbers that you

4      just --

5             Q.   (By Ms. Weaver)     Oh -- yeah, Mr. Duffey.     01:59:31

6      I'm marking two new exhibits for you to look at.

7      I'm sorry for being unclear.          So they're going to

8      load, and you're looking at Exhibit 391, I think,

9      but Exhibits --

10            A.   I'm sorry.     I was looking -- I think you     01:59:44

11     already marked 392 --

12                 MR. FALCONER:     Yeah.

13                 THE DEPONENT:     -- as the schedule -- as

14     the schedule plan.

15                 MS. WEAVER:     I see.     And it will be 393   01:59:52

16     and 394.    I apologize.

17            Q.   (By Ms. Weaver)     And 393, I believe, is

18     up.

19            A.   Oh, I'm loading -- it's uploading right

20     now.                                                        02:00:20

21            Q.   And so the -- first I want to comment on

22     what those exhibits are, and then we'll return to

23     the question of the records relating to user

24     consents.

25                 Do you have Exhibit 393?                        02:00:48

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1           A.     I have it, but I'm still a little                  02:00:50

2      confused, because I think 392 and 393 are the same

3      document.

4           Q.     I see.    And then when you see 394, you'll

5      see that the spreadsheet attached bears a                      02:01:08

6      consecutive Bates number.

7                  Well, you know what, Mr. Duffey?         This is

8      your expertise.

9                  Exhibit 392 didn't have a corresponding

10     spreadsheet in the production that you gave us, and            02:01:20

11     so I'm trying to copy -- or mark for the record the

12     version of the privacy program records retention

13     schedule that was followed immediately by a

14     spreadsheet.    And maybe you can --

15          A.     I see.                                             02:01:31

16          Q.     -- authenticate that one.       Right.

17          A.     Okay.

18          Q.     So Exhibit 394 is up.

19          A.     I see it.

20          Q.     Okay.    And then let me just go back to           02:01:45

21     Exhibit 393 and ask you:      What is Exhibit 393?

22          A.     Okay.    Just a moment.

23                 3 -- Exhibit 393 is the US privacy

24     program records retention schedule.

25          Q.     And what is Exhibit 394?                           02:02:21

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1           A.     Exhibit 394 is the US privacy program         02:02:49

2      records file plan.

3           Q.     And is this the document that you were

4      testifying you would need to seek to answer the

5      question about what records relating to user              02:03:00

6      consents constitute?

7           A.     That's correct.

8           Q.     And if I direct your attention to the

9      page ending in Bates number -576 on the lower

10     left-hand corner, do you see where it says "user          02:03:16

11     consent records"?

12          A.     Yes.

13          Q.     So the question is:      Do these user

14     consent records relate to every Facebook user?

15                 While you're reading, I'll read into the      02:04:16

16     record that in the fourth column in that row, it

17     reads:    "Records relating to Meta's attempt to

18     obtain the consent of users referred to in part 2

19     of the order titled Changes to Sharing of Covered

20     Information, which constitutes a copy of each             02:04:33

21     relevant screenshot/screen cast of user consent

22     statements, consent flows, and privacy settings, a

23     copy of each relevant record sufficient to show

24     each user's consent in a part 3 scenario and a copy

25     of each relevant report sufficient to demonstrate         02:04:51

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1      on an aggregate basis the number of users for whom        02:04:54

2      each such privacy setting was in effect at any time

3      Meta has attempted to obtain or has been required

4      to obtain such consent in a" -- I think it says

5      "part 2 scenario."                                        02:05:08

6                 Do you see that?

7           A.    I do see it.

8           Q.    Prior to the time -- well, strike that.

9                 When did Exhibits 393 and 394 take

10     effect?                                                   02:05:22

11          A.    I don't know when Exhibit 394 went into

12     effect.   Exhibit 393 is -- is loading now.      And I

13     believe it went into effect on April 20th -- yes,

14     April 20th, 2021.

15          Q.    And Exhibit 394, is that an explication,       02:06:16

16     if you will, of the kinds of documents identified

17     in Exhibit 393?

18          A.    I don't know if I understand what that --

19     that word is.

20          Q.    It means --                                    02:06:32

21          A.    Sorry.

22          Q.    -- explanation, I guess.    Right?

23                Let me ask the question again.

24                Is Exhibit 394 a part of Exhibit 393?

25          A.    It's -- it's -- they all -- 393 and 394        02:06:53

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1      are part -- you know, part of the US privacy              02:06:56

2      program records management policy.       I would

3      consider them separate documents, but the file plan

4      provides additional information including the --

5      you know, the record class, records category,             02:07:23

6      approved repository, and maybe -- maybe some

7      additional columns that are not referenced in -- in

8      the retention schedule.

9           Q.   And with regard to the records described

10     in the cell that I just read into the record about        02:07:50

11     user consents, prior of April of 2021, did Facebook

12     maintain such records?

13          A.   I don't know.

14          Q.   Did Facebook preserve the documents

15     described in that cell for purposes of this               02:08:20

16     litigation?

17          A.   I don't know.

18          Q.   Who would know?

19          A.   I can't name a specific individual, but I

20     would -- I would suggest that -- that -- going to         02:09:17

21     somebody working on the, you know, US privacy

22     program or somebody within the privacy team.

23          Q.   And can you name anybody by name who is

24     on that team or involved with that program?

25          A.   I can't.   But somebody on -- on our            02:09:54

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1      information governance team could.                        02:10:02

2           Q.   And who --

3           A.   I would imagine.

4           Q.   Sorry.

5                And who on your information governance          02:10:09

6      team by name might be able to let us know how to

7      find out if those documents relating to user

8      consents were preserved or collected prior to

9      April 21st, 2021?

10          A.   Two people come to mind.       One would be     02:10:32

11     Yodi, Y-O-D-I, Hailemariam, H-A-I-L-E-M-A-R-I-A-M.

12     And Daniel Proko, D-A-N-I-E-L P-R-O-K-O.

13          Q.   Mr. Hailemariam is identified on Exhibit

14     386, correct?

15          A.   Yes.     Yodi is a woman --                     02:11:06

16          Q.   I'm sorry.

17          A.   -- but that's correct.

18          Q.   My apologies.

19          A.   No, it's fine.     I just wanted to clarify.

20          Q.   That's nice.                                    02:11:15

21               You spoke with Yodi in preparation for

22     your deposition; is that correct?

23          A.   I did speak with her, yes.

24          Q.   And the second person you identified, is

25     that person also listed in your notes?                    02:11:27

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1           A.   No.                                             02:11:32

2           Q.   And did you speak with that person to

3      prepare for your deposition today?

4           A.   No.

5           Q.   Looking a little further ahead and              02:11:46

6      turning back to Exhibit 394, there's a category of

7      documents called "User Privacy Communications and

8      Statements."

9                Do you see that?

10               That's at Bates number ending at -577.          02:11:56

11          A.   Yes, I see it.

12          Q.   And do you see in the fifth column it

13     describes those as "records of external statements

14     made by Meta that describe the extent to which Meta

15     maintains and protects the privacy, security, and         02:12:25

16     confidentiality of any covered information

17     according to the FTC order, including but not

18     limited to any statement related to a change in any

19     website or service controlled by Meta that relates

20     to the privacy of such information along with all         02:12:42

21     materials relied upon in making such" -- and then

22     it looks like it's an incomplete sentence.

23               Do you see that?

24          A.   I do.

25          Q.   Do you know if prior to April 2021              02:12:54

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1      Facebook maintained these kind of records?                02:12:59

2                MR. FALCONER:     Objection.     Beyond the

3      scope of the notice.

4                THE DEPONENT:     I -- I don't know.

5           Q.   (By Ms. Weaver)        Do you know who would?   02:13:42

6           A.   I would -- I would start with Yodi and

7      Daniel.

8           Q.   Okay.     Thank you.

9                I'll ask you to look now at what we're

10     marking as Exhibit 395.                                   02:13:56

11               (Exhibit 395 was marked for

12     identification by the court reporter and is

13     attached hereto.)

14               MS. WEAVER:     That's tab 39.     That bears

15     Bates number ADVANCE-META -578 through -585.              02:14:03

16               And for the record, it bears the words

17     "FTC order records management policy."

18               THE DEPONENT:     I have it up.

19          Q.   (By Ms. Weaver)        What is Exhibit 395?

20          A.   It is the FTC order records management          02:14:38

21     policy that went into effect April 28th, 2020.

22          Q.   And did you review it in preparing for

23     your deposition today?

24          A.   I did review it, yes.

25          Q.   And to what issue did you find it               02:14:57

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1      relevant to prepare for your deposition today?            02:15:02

2                MR. FALCONER:     Objection.     Beyond the

3      scope of the notice.

4                And, Mike -- or excuse me -- Mr. Duffey,

5      don't reveal the contents of any conversations you        02:15:16

6      had with counsel in the course of giving an answer.

7      If the only thing that you know about that question

8      is something you learned from counsel, I would

9      instruct you not to answer the question.

10               THE DEPONENT:     I'll follow my counsel's      02:15:35

11     instruction.

12          Q.   (By Ms. Weaver)     Do you have an

13     understanding as to what Exhibit 395 is?

14          A.   Yes.   This is the policy that was put in

15     place in compliance to the FTC's order that went          02:15:51

16     into effect on April 28th, 2020.

17          Q.   And turning to the second page.

18               Do you see a definition there called

19     "covered information"?

20          A.   Yes.                                            02:16:21

21          Q.   And is it your understanding that under

22     this order there is a records retention schedule

23     that addresses whether covered information is

24     retained by Facebook?

25          A.   I'm not sure I understood the question.         02:16:52

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1           Q.   What is the purpose of the policy with          02:16:55

2      regard to covered information?

3                MR. FALCONER:     Objection.     Form.

4                Go ahead, Mike.

5                THE DEPONENT:     I would -- I would have to    02:17:11

6      refer to the policy itself.     The covered

7      information looks to be, you know, referenced in --

8      in multiple places on this records management

9      policy.

10          Q.   (By Ms. Weaver)     So there's a definition     02:17:49

11     for "covered information."

12               Do you see that?

13          A.   I do.

14          Q.   And a definition for "covered third

15     party."                                                   02:17:55

16               Do you see that?

17          A.   Yes.

18          Q.   And the definition for "covered

19     information" includes "information from or about an

20     individual consumer, including but not limited to         02:18:03

21     first or last name; geolocation information

22     sufficient to identify a street name and name of

23     city or town; email address or other online contact

24     information, such as instant messaging identifier

25     or screen name; mobile or other telephone number;         02:18:21

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1      photos and videos; IP address, user ID, or other          02:18:24

2      persistent identifier that can be used to

3      recognized a user over time and across different

4      device, websites, or online services; social

5      security number, driver's license, or other               02:18:39

6      government-issued identification number; financial

7      account number; credit or debit information; date

8      of birth, biometric information, any information

9      combined with any of the above or nonpublic user

10     information."                                             02:18:53

11               Do you see that?

12          A.   Yes, I do.

13          Q.   Excluding nonpublic user information, is

14     it -- does Facebook understand covered information

15     to be personal information?                               02:19:04

16               MR. FALCONER:     Objection.     Form and

17     beyond the scope of the notice.

18               Go ahead, Mike.

19               THE DEPONENT:     I've seen some of these

20     descriptions in the covered information definition        02:19:46

21     used to define personal information.

22          Q.   (By Ms. Weaver)     What is Facebook's

23     understanding of what personal information is?

24               MR. FALCONER:     Objection.     Beyond the

25     scope of the notice.                                      02:20:06

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1                THE DEPONENT:     I would -- I would define     02:20:39

2      "personal information" as information that you

3      could use to identify a specific person, like an

4      email address or phone number, social security

5      information, bank information, driver's license,          02:21:00

6      and, you know, govern -- government-issued

7      identification number.     Also credit card

8      information.

9           Q.   (By Ms. Weaver)     Looking at definition

10     9 in Exhibit 384, which is the deposition notice.         02:21:15

11               Do you see that it defines "personal

12     information" in the notice?

13               You have to go back to the very first

14     exhibit that we marked today, Mr. Duffey.

15          A.   Okay.   I see it.                               02:21:38

16          Q.   Is the definition of "personal

17     information" set forth in definition

18     No. 9 consistent with your understanding of what

19     Facebook's understanding personal information is?

20               MR. FALCONER:     Objection.     Beyond the     02:22:02

21     scope of the notice.

22               MS. WEAVER:     It's literally in the

23     notice, Russ.

24               THE DEPONENT:     The definition in the

25     30(b)(6) notice seems to be a fair and accurate           02:22:23

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1      definition of what personal information is.                02:22:33

2           Q.      (By Ms. Weaver)     And going back to

3      Exhibit 395.

4           A.      Okay.

5           Q.      Do you see there's a definition there for     02:22:48

6      "nonpublic user information"?

7           A.      I see.

8           Q.      Do you see it's defined as "any user

9      profile information (i.e., information that a user

10     adds to or is listed on a user's Facebook profile),        02:23:10

11     or user-generated content (e.g., status updates,

12     photos) that is restricted by one or more privacy

13     settings."

14                  Do you see that?

15          A.      Yes.                                          02:23:25

16          Q.      Is that Facebook's understanding of what

17     nonpublic user information is?

18                  MR. FALCONER:     Objection.     Form.

19                  Go ahead, Mike.

20                  THE DEPONENT:     Yes.                        02:23:40

21          Q.      (By Ms. Weaver)     And then turning to the

22     page ending at -581.

23                  Do you see where it says "scope of FTCO

24     records"?

25          A.      Yes.                                          02:24:01

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1              Q.   And is this describing categories of         02:24:01

2      records which must be created and retained by

3      Facebook or Meta?

4              A.   These are the -- the scope of records

5      that must be created and maintained and retained          02:24:17

6      for a certain period of time as part of the FTC's

7      order that went into effect on -- on April 28th,

8      2020.

9              Q.   And there's a reference below to "covered

10     third party," correct?                                    02:24:44

11             A.   In section B?

12             Q.   Yes.

13             A.   Yes, I see it.

14             Q.   And "covered third party" is defined

15     earlier at page ending -579 as "any individual or         02:25:04

16     entity that uses or receives covered information

17     obtained by or on behalf of Facebook outside of a

18     user-initiated transfer of covered information,"

19     and then it lists a few exceptions.

20                  Do you see that?                             02:25:26

21             A.   I do.

22             Q.   Is that Facebook's definition of a

23     covered third party?

24                  MR. FALCONER:    Objection.     Form and

25     beyond the scope of the notice.                           02:25:33

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1                Go ahead, Mike.                                  02:25:35

2                THE DEPONENT:     Yes, this is Facebook's

3      definition of a covered third party.

4           Q.   (By Ms. Weaver)     And so going back to the

5      page ending at -581, is Meta currently required to         02:25:43

6      retain documents sufficient to identify the types

7      of covered information that Facebook provides or

8      makes available to any covered third party, subject

9      to the requirements set forth there?

10               MR. FALCONER:     Objection.     Form.           02:26:09

11               Go ahead, Mike.

12               THE DEPONENT:     Yes, I believe so.         I

13     would want to review -- there's also a schedule

14     plan and a file plan attached to -- to this policy

15     as well that further provides information about the        02:26:34

16     types of records that would be covered by -- the

17     section that you just went by -- went off of -- the

18     documents sufficient to identify the types of

19     covered information that Facebook provides to any

20     covered third party.                                       02:27:03

21          Q.   (By Ms. Weaver)     And for all of the kinds

22     of documents listed here in subtopics A through G,

23     which describes the scope of the FTCO records, is

24     Meta complying with retention requirements?

25          A.   Yes, I believe so.                               02:27:25

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1                 MR. FALCONER:     We've been going a little      02:27:28

2      more than an hour.     When you get to a stepping

3      point --

4                 MS. WEAVER:     I'd just like to finish

5      this --                                                     02:27:34

6                 MR. FALCONER:     Yeah, you're fine.

7           Q.    (By Ms. Weaver)     Would it be possible for

8      Meta to produce these retained documents in this

9      litigation without any technical difficulty?

10                MR. FALCONER:     Objection.     Beyond the      02:27:45

11     scope of the notice.

12                THE DEPONENT:     There are -- there are a

13     number of approved repositories that are listed in

14     the -- FTC or records management file plan.             I

15     can't speak to the effort that would be needed to           02:28:08

16     collect all records.

17                So I don't know that I can -- that I can

18     answer that specific question.

19          Q.    (By Ms. Weaver)     Prior to April 2021, did

20     Facebook preserve documents of the type described           02:28:33

21     in subcategory B?

22                MR. FALCONER:     Objection.     Form.

23                Go ahead.

24                MS. WEAVER:     Oh, I misspoke.

25                THE DEPONENT:     I don't know.                  02:29:04

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1             Q.   (By Ms. Weaver)     Prior to April 2020, did       02:29:04

2      Facebook preserve documents of the type described

3      in subcategory B?

4                  MR. FALCONER:     Same objection.

5                  THE DEPONENT:     I don't know the answer.         02:29:27

6                  MS. WEAVER:     Okay.    We can take a break

7      now.

8                  THE VIDEOGRAPHER:       Okay.   Now we're off

9      the record.    It's 2:29 p.m.

10                 (Recess taken.)                                    02:29:34

11                 THE VIDEOGRAPHER:       Okay.   We're back on

12     the record.    It's 2:43 p.m.

13            Q.   (By Ms. Weaver)     Mr. Duffey, for

14     custodians who received the litigation hold letter

15     relating to this case, did Facebook preserve their             02:43:25

16     devices as well?

17            A.   Any data stored on a device in use by a

18     custodian, that data is -- you know, custodians are

19     instructed to preserve any data stored on either --

20     on a device potentially relevant to a matter.             We   02:44:02

21     have a policy, legal hold policy, where if a device

22     is being replaced, that device is preserved.             The

23     same is true for departing employees on legal hold

24     as well.

25            Q.   And when you say the device is preserved,          02:44:38

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1      what do you mean?    Do you mean a physical device is     02:44:40

2      preserved, or is there a forensic image, or how it

3      is preserved?

4           A.     The physical device is preserved.

5           Q.     Ensuring that the litigation hold was         02:45:01

6      complied with in this case, did Facebook ask

7      custodians if they used text to communicate?

8           A.     Yes.

9           Q.     And did Facebook preserve texts for the

10     custodians identified for this case?                      02:45:30

11          A.     Any text messages that are deemed

12     potentially relevant by the custodian, the

13     custodian is obligated to preserve those text

14     messages.    When we conduct custodian interviews and

15     text messages are identified, the E-discovery team        02:46:01

16     will collect those text messages.

17          Q.     Does that include texts on phones and

18     tablets and any other devices?

19          A.     It would cover any devices, yes.

20          Q.     Does Facebook provide devices or did          02:46:22

21     Facebook provide devices to any of the custodians

22     related to this litigation?

23                 MR. FALCONER:   Object to that --

24                 THE DEPONENT:   Yes.

25                 MR. FALCONER:   -- as beyond the scope.       02:46:42

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1                  But go ahead and answer the best you can.     02:46:45

2                  THE DEPONENT:     Yes.

3             Q.   (By Ms. Weaver)     And what devices are

4      those?

5                  MR. FALCONER:     Same objections.            02:47:00

6                  THE DEPONENT:     Typically Facebook will

7      provide a laptop and a phone.        Through the course

8      of my work, I have experienced some custodians

9      using a desktop computer or a tablet.

10            Q.   (By Ms. Weaver)     And were all such         02:47:30

11     devices searched and had responsive data preserved

12     for this litigation?

13                 MR. FALCONER:     Objection.     Form.

14                 THE DEPONENT:     Again, the custodian is

15     obligated to preserve all relevant information,           02:47:51

16     potentially relevant information, related to a

17     matter, no matter where it's stored.          If a

18     custodian identifies relevant data on a device, the

19     E-discovery team will collect from those devices,

20     yes.                                                      02:48:12

21            Q.   (By Ms. Weaver)     Are you aware of any

22     failures of any custodian related to this

23     litigation to preserve relevant information?

24            A.   I'm not.

25            Q.   Okay.   Are you aware of whether Facebook     02:48:25

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1      preserved account level privacy settings for the               02:48:43

2      named plaintiffs' accounts in this case?

3           A.     We discussed this morning the




                                                  DYI.    I believe   02:49:09

6      there are

7      so I believe my answer would be -- would be yes.

8           Q.     And those privacy settings also

9      maintained in Hive or TAO?

10                 MR. FALCONER:     Objection.     Beyond the        02:49:50

11     scope of the notice.

12                 But go ahead, Mike.

13                 THE DEPONENT:     I'm not sure.

14          Q.     (By Ms. Weaver)     Did Facebook preserve

15     account level privacy settings for the named                   02:50:04

16     plaintiffs' accounts prior to 2020?

17          A.     I'm not sure if historical privacy

18     settings are captured in              the DYI

19                            .    I also am not sure whether

20     or not account level privacy settings have been                02:50:53

21     preserved within the          Hive tables that we have

22     on legal hold.

23                 Long answer is -- you know, short answer

24     is I -- I don't know.

25          Q.     And are you familiar with the phrase "set          02:51:14

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1      permissions"?                                                       02:51:16

2              A.      No.

3              Q.      Do you know whether account level

4      permission settings on posts have been preserved

5      prior to 2020 for the named plaintiffs?                             02:51:31

6              A.      I don't know.

7              Q.      Are you familiar with what an identifier

8      is?

9                      MR. FALCONER:     Objection.     Form.

10                     THE DEPONENT:     I've heard of the term            02:52:15

11     used.        If -- if you could give me some context

12     about --

13             Q.      (By Ms. Weaver)     Yes.

14             A.      -- what you mean by "identifier."

15             Q.      Well, it's really what Facebook means               02:52:23

16     that I'm worried about.           But fair enough.       It's not

17     a great question.

18                     You're familiar with the Facebook user

19     ID, correct?

20             A.      Yes.                                                02:52:33

21             Q.      And are you familiar with the replacement

22     ID?

23             A.      I'm familiar with it, yes.

24             Q.      And are you familiar with other

25     identifiers such as the ASID or ADID that can be                    02:52:46

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1      associated with users?                                    02:52:50

2           A.    No.

3           Q.    Do you know if Facebook took any steps to

4      preserve identifiers associated with the named

5      plaintiffs in this case?                                  02:53:00

6           A.    If -- if that information is part of the

7          Hive tables that we have placed on legal hold,

8      then -- then the answer would be yes.

9           Q.    Are you familiar with what a cookie is?

10          A.    Yes.                                           02:53:31

11          Q.    Did Facebook preserve cookies that are

12     associated with the named plaintiffs in this case,

13     including the full name of datr cookies, for

14     example?

15          A.    I'm not sure if that information is            02:53:55

16     captured in a                  DYI snapshot or if it

17     was -- if it is information that we are preserving

18     as part of the, you know, Hive tables that we have

19     on legal hold for this matter.     If that information

20     is contained with -- within

          tables that are being preserved, then yes, we

22     would have.

23          Q.    You're aware that hashed versions of the

24     datr cookie values are contained, or at least some

25     of them, in the DYI files; is that true?                  02:54:32

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1                MR. FALCONER:     Objection.                    02:54:37

2                THE DEPONENT:     I don't know.

3                MR. FALCONER:     Beyond the scope.

4                THE DEPONENT:     I don't know.

5           Q.   (By Ms. Weaver)     Okay.                       02:54:46

6                For the named plaintiffs who are active

7      on Facebook, are there objects and associations

8      that were once in TAO but are no longer there?

9           A.   Can you repeat the question, please.

10          Q.   Yes.                                            02:55:15

11               For the named plaintiffs who are still

12     active on Facebook, are there objects and

13     associations that were once in TAO but are no

14     longer there?

15          A.   Yes, potentially.     TAO is part of our        02:55:33

16     production system, and it's a live system.

17     Facebook does not have a tool that prevents user

18     from interacting with the product.       An example of

19     object in association that may no longer be

20     available through a snapshot would be something           02:56:05

21     that was deleted by the user or, in the instance of

22     an interaction, by the user's friends.

23          Q.   What has Facebook done to maintain the

24     objects and associations since the onset of this

25     litigation?                                               02:56:31

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1           A.      We've

                       DYI tool for -- for each of the named

3      plaintiffs that had data available at the time of

4      the snapshot.

5           Q.      Does

           named plaintiffs?

7           A.

8           Q.      Has Facebook taken any steps to identify

9      and preserve data relating to the named plaintiffs

10     that Facebook received from third parties?                 02:57:44

11          A.      If that data is part of the data

12     contained within the         Hive tables that we are

13     preserving, then the answer is yes.

14          Q.      Do you know if the        tables includes

15     data received from companies like data brokers such        02:58:17

16     as Acxiom?

17          A.      I don't know the answer to that.       That

18     analysis would -- would be required from somebody

19     on our E-discovery data science team.

20          Q.      Has Facebook taken any steps to preserve      02:58:39

21     information sufficient to show if any data relating

22     to the named plaintiffs has been sent to third

23     parties for academic research?

24          A.      I don't know.   That would be another

25     answer -- the same answer where our -- our                 02:59:05

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1      E-discovery data science team would have to do that       02:59:09

2      analysis within the preserved Hive tables.

3           Q.     For example, Aleksandr Kogan was a

4      researcher, correct?    And he received data from

5      Facebook separate from the This is Your Digital           02:59:24

6      Life app, right?

7                  MR. FALCONER:     I'm going to object to

8      this as beyond the scope of the notice and also

9      object to form.

10                 THE DEPONENT:     I am aware that             02:59:37

11     Aleksandr Kogan was an app developer.

12          Q.     (By Ms. Weaver)     Did Facebook preserve

13     information showing which users' data Kogan

14     received?

15          A.     I'm not sure, but that would be               03:00:02

16     information that I think would be captured in Hive,

17     and if it were part of the tables that we have

18     placed on hold, the answer would be yes.

19          Q.     Did Facebook take any steps to preserve

20     data which would show which users received the            03:00:36

21     notice that they may have had their data viewed by

22     Cambridge Analytica?

23          A.     If -- if that information or data is in

24     the custody or control of any of the custodians

25     on -- on legal hold, they're under the obligation         03:01:19

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1      to preserve that information.         And then the same   03:01:23

2      would be true for the Hive data tables that we have

3      preserved for this matter.

4           Q.      Did Facebook preserve the list of users

5      who downloaded the This is Your Digital Life app?         03:01:41

6           A.      The same answer.     If any of the

7      custodians on legal hold for this matter have that

8      information, they would be instructed to preserve

9      that list.     If that information is contained within

10     the preserved Hive data tables, those would be --         03:02:13

11     that information would also be preserved.

12          Q.      Did Facebook preserve any information

13     regarding whose data was sent to Aleksandr Kogan

14     beyond the named plaintiffs?

15          A.      I don't know.                                03:02:46

16          Q.      Are there logs that reflect whether or

17     not Cambridge Analytica received named plaintiffs'

18     data that can be sorted by user ID?

19                  MR. FALCONER:     I'm going to object to

20     that as outside the scope of the notice.                  03:03:04

21                  But go ahead.

22                  THE DEPONENT:     I don't know.

23          Q.      (By Ms. Weaver)     And if there were, do

24     you know if they were preserved?

25                  MR. FALCONER:     Objection.     Form.       03:03:13

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1                  THE DEPONENT:     If that data was part of     03:03:19

2          data -- Hive tables that we have preserved,

3      then yes.    But I don't know the answer to that

4      specific question.

5           Q.     (By Ms. Weaver)     And if they were not       03:03:31

6      preserved in those          tables, is the answer no?

7           A.     Unless that information is in the

8      possession, custody, or control of one of our legal

9      hold custodians, it's possible that that

10     information could be preserved through custodial           03:03:58

11     preservation.

12          Q.     Is there any other kind of data that

13     could identify which Facebook users could have had

14     their data viewed by Cambridge Analytica other than

15     what you have just described?                              03:04:48

16                 MR. FALCONER:     Objection.     Beyond the

17     scope of the notice.

18                 THE DEPONENT:     I don't know.

19          Q.     (By Ms. Weaver)     What steps has Facebook

20     taken in this case to preserve information relating        03:05:08

21     to the identification of class members?

22                 MR. FALCONER:     Objection.     Form.

23                 THE DEPONENT:     I -- I don't know what the

24     term "class members" means.

25          Q.     (By Ms. Weaver)     Does Facebook have a       03:05:30

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1      record of who was signed up for a Facebook account         03:05:31

2      from 2007 to the present?

3                   MR. FALCONER:     Objection.     Beyond the

4      scope of the notice.

5                   THE DEPONENT:     I don't know.               03:05:48

6              Q.   (By Ms. Weaver)     At the time the

7      litigation hold was sent, did Facebook make any

8      attempt to preserve a record of every person who

9      had signed up for a Facebook account prior to that

10     time?                                                      03:05:59

11                  MR. FALCONER:     Objection.     Form.

12                  Go ahead, Mike.

13                  THE DEPONENT:     Can you repeat the

14     question, please.

15             Q.   (By Ms. Weaver)     Yeah.                     03:06:16

16                  At the time the first litigation hold was

17     sent relating to this matter, did Facebook make any

18     attempt to preserve a record that identified every

19     person who signed up for a Facebook account prior

20     to the time the litigation hold was sent?                  03:06:28

21                  MR. FALCONER:     Objection.     Form.

22                  THE DEPONENT:     I don't know.

23             Q.   (By Ms. Weaver)     What steps has Facebook

24     taken to preserve data relating to what is shared

25     about the class members in this case?                      03:06:53

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1                   MR. FALCONER:     Objection.     Form.          03:06:59

2                   THE DEPONENT:     I don't know -- I don't

3      know what you mean by "class members."

4           Q.      (By Ms. Weaver)     Okay.    For your

5      edification, everybody who held a Facebook account           03:07:15

6      from January 1, 2007 forward is a class member in

7      the terms of our complaint.

8                   So --

9           A.      Okay.

10          Q.      The question is:     What steps has Facebook    03:07:28

11     taken to preserve information which would identify

12     what information is shared about class members in

13     this case?

14          A.      I don't know.

15          Q.      Has Facebook made an attempt to preserve        03:07:51

16     data or logs that -- which would show what

17     information third parties have received about the

18     class members in this case?

19          A.      I don't know.

20          Q.      Has Facebook made any attempt to preserve       03:08:12

21     data or logs which would show what information

22     third parties have received about the named

23     plaintiffs in this case?

24          A.      As I mentioned, we -- we have            Hive

25     data tables preserved and on legal hold for this             03:08:33

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1      matter.     If that data is within those tables, that         03:08:42

2      information would be preserved.          I'm not sure

3      whether or not that data is -- or that information

4      is contained within a                         DYI snapshot,

5      but if it is, we would have preserved it at the               03:09:06

6      time of this snapshot.

7           Q.      Has Facebook taken any steps to preserve,

8      for example, API call logs or records that would

9      reflect what information third parties received

10     about the named plaintiffs in this case?                      03:09:22

11                  MR. FALCONER:     Objection.     Form.

12                  THE DEPONENT:     Russ, I don't know if this

13     one of those potentially privileged questions or

14     answers.

15                  MR. FALCONER:     Okay.                          03:09:54

16                  MS. WEAVER:     You can consult.      You want

17     to go to a breakout room or --

18                  MR. FALCONER:     Sure.

19                  Yeah, why we don't we do -- we'll go off

20     the record for a second.                                      03:10:06

21                  Mike, can you go into the breakout room?

22                  MS. WEAVER:     We can go off the record.

23                  THE VIDEOGRAPHER:     We're off the record,

24     3:10 p.m.

25                  (Recess taken.)                                  03:10:29

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1                  THE VIDEOGRAPHER:     Okay.     We're back on       03:18:20

2      the record.    It's 3:18 p.m.

3           Q.     (By Ms. Weaver)     I'll restate the

4      question.

5                  Mr. Duffey, has Facebook taken any steps            03:18:30

6      to preserve, for example, API call logs or records

7      that could reflect what information third parties

8      received about the named plaintiffs in this case?

9                  MR. FALCONER:     I'm going to object to the

10     form of the question.                                           03:18:47

11                 And then, Mr. Duffey, I'll instruct you

12     to limit your answer to this question to

13     nonprivileged information.

14                 THE DEPONENT:     Understood.

15                 If -- if -- if that information regarding           03:19:00

16     API call logs is stored within any of the                Hive

17     tables we have preserved for this matter or is

18     information stored by or by any of other legal hold

19     custodians, that information would be preserved for

20     this matter.                                                    03:19:42

21          Q.     (By Ms. Weaver)     But specifically with

22     regard to API call logs, has Facebook preserved any

23     information in API call logs that would reflect

24     what information about class members was shared

25     with third parties?                                             03:20:02

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1                MR. FALCONER:     Objection.     Form.          03:20:07

2                And, again, same instruction, Mr. Duffey,

3      not to reveal any privileged communications or

4      privileged information in the course of your

5      answer.                                                   03:20:18

6                THE DEPONENT:     Same -- same answer in

7      respect to class members as I answered with respect

8      to the named plaintiffs.

9           Q.   (By Ms. Weaver)     What steps has Facebook

10     taken to preserve data that could be associated           03:20:33

11     with the named plaintiffs from systems that have

12     been deprecated since the onset of the litigation?

13          A.   I'm not aware of any systems that have

14     been deprecated since the onset of the litigation.

15     I was informed that Facebook is in the process of         03:21:02

16     deprecating one system called EverStore, which --

17     which stores, from what I'm told, large files like

18     photos and videos.

19               That -- that EverStore system, we're in

20     the process of migrating that data over to a new          03:21:35

21     system called Manifold, and common practice for

22     Facebook is to -- for any deprecated system to

23     ensure that the data is -- is appropriately

24     migrated to the new system.

25          Q.   Are you aware of any deprecated                 03:22:07

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1      practices?                                                  03:22:09

2                   MR. FALCONER:     Objection.     Form.   And

3      beyond the scope of the notice.

4                   But go ahead, Mike.

5                   THE DEPONENT:     I'm not sure what you mean   03:22:21

6      by "practice."

7           Q.      (By Ms. Weaver)     Do you know what

8      whitelisting is as it is used in this case?

9           A.      I've heard the term "whitelisting"

10     before.   As it's used in this case, I'm not sure.          03:22:39

11          Q.      What is your understanding --

12          A.      If I --

13          Q.      Oh, I'm sorry, Mr. Duffey.

14                  What were you saying?       I didn't mean to

15     cut you off.                                                03:22:57

16          A.      Yeah, I've heard the term "whitelisting,"

17     but I'm just -- I don't have an understanding of --

18     of what that term means in context with this

19     matter.   But if you could explain it to me, I can

20     attempt to answer your question.                            03:23:11

21          Q.      At some point in time, did Facebook

22     transition from Graph API version 1.0 to 2.0?

23                  MR. FALCONER:     Objection.     Beyond the

24     scope of the notice.

25                  THE DEPONENT:     I understand that that did   03:23:30

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1      happen, yes.                                              03:23:33

2             Q.   (By Ms. Weaver)     And you understand that

3      part of the allegations in this complaint, for

4      which you were partly responsible for identifying

5      custodians and preserving evidence, is that certain       03:23:40

6      third parties were whitelisted or exempted from

7      being cut off from certain data available in Graph

8      API version 1.0; is that right?

9                  MR. FALCONER:     Objection.     Beyond the

10     scope.                                                    03:24:01

11                 Again, go ahead, Mike.

12                 THE DEPONENT:     I have general minimum

13     understanding of this, yes.

14            Q.   (By Ms. Weaver)     Did Facebook preserve a

15     list of the third parties who were whitelisted            03:24:18

16     after the transition from Graph API version 1.0 to

17     2.0?

18            A.   If any of the        custodians placed on

19     legal hold for this matter have that information of

20     the -- of the companies that were whitelisted, they       03:24:51

21     would have preserved that information.          I'm not

22     sure whether or not that information is contained

23     within any of our Hive tables, but if it were part

24     of the       Hive tables that we have preserved for

25     this matter, again, that -- that information would        03:25:13

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1      be preserved in those -- the Hive tables on legal          03:25:15

2      hold.

3              Q.   Did Facebook take any -- any steps to

4      preserve records of which third parties received

5      the named plaintiffs' data after they were                 03:25:28

6      whitelisted?

7              A.   Same answer.

8              Q.   There are logs that reflect what third

9      parties have accessed in terms of user data,

10     correct?                                                   03:25:49

11                  MR. FALCONER:     Objection.     Form.

12                  THE DEPONENT:     Can you repeat the

13     question, please.

14             Q.   (By Ms. Weaver)     Sure.

15                  There are APIs or interfaces that             03:26:03

16     reflect -- strike that.

17                  Are there logs or records that reflect

18     what data third parties have accessed from Facebook

19     that existed at the time the litigation hold in

20     this case was set --                                       03:26:27

21                  MR. FALCONER:     Objection.     Beyond the

22     scope.

23             Q.   (By Ms. Weaver)     -- correct?

24             A.   I don't know.

25             Q.   So other than the Hive tables and the         03:26:33

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1      snapshots we've discussed, did Facebook take any          03:26:38

2      steps to preserve data in Facebook's systems that

3      could be used to identify what information third

4      parties received from Facebook about users?

5           A.     I just want to make sure I understand the     03:27:17

6      question.    Do you mind repeating it one more time,

7      please.

8           Q.     No problem.

9                  Other than Hive tables and the snapshots

10     we have discussed and other than custodial files,         03:27:26

11     did Facebook take any steps to preserve data in

12     Facebook's systems, for example, APIs or logs, that

13     could be used to identify what information third

14     parties received from Facebook about class members?

15                 MR. FALCONER:     Objection.     Form.        03:27:53

16                 THE DEPONENT:     I don't know.

17          Q.     (By Ms. Weaver)     You're aware that as

18     part of the ADI investigation, Facebook disallowed

19     access to user data for certain third parties,

20     correct?                                                  03:28:22

21                 MR. FALCONER:     Objection.     Beyond the

22     scope of the notice.

23                 THE DEPONENT:     I didn't -- I wasn't -- I

24     don't think I was aware of that, no.

25          Q.     (By Ms. Weaver)     Do you know if Facebook   03:28:32

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1      maintained a list of the third parties whose access        03:28:33

2      to Facebook's data was cut off following Cambridge

3      Analytica?

4                   MR. FALCONER:     Objection.     Beyond the

5      scope.                                                     03:28:51

6                   THE DEPONENT:     I don't understand the

7      question.

8              Q.   (By Ms. Weaver)     Following the

9      Cambridge Analytica scandal, what steps did

10     Facebook take to preserve information relating to          03:29:05

11     which third parties were improperly accessing class

12     members' data?

13             A.   We sent legal hold notifications to

14     custodians in the Cambridge Analytica matter as

15     well as legal hold custodians in the app developer         03:29:35

16     investigation matter and instructed those

17     custodians to preserve all relevant data related to

18     those matters.

19                  We also placed Hive tables on legal hold

20     for both the Cambridge Analytica matter as well as         03:29:59

21     the app developer investigation matter.

22             Q.   Does Facebook maintain a record of what

23     third parties are accessing information through its

24     APIs?

25                  MR. FALCONER:     Objection.     Beyond the   03:30:22

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1      scope of the notice.                                      03:30:22

2                 THE DEPONENT:     I don't know.

3           Q.    (By Ms. Weaver)     Did Facebook make any

4      attempt to preserve in back-end logs data that

5      would allow Facebook to identify whether class            03:30:32

6      members' data was accessed by third parties?

7                 MR. FALCONER:     Objection to form.

8                 THE DEPONENT:     I don't know what the term

9      "back-end logs" means.

10          Q.    (By Ms. Weaver)     So front-end logs are      03:30:53

11     where data is received and back-end logs is where

12     it is sent out through the platform.

13                Does Facebook maintain a record of which

14     third parties are accessing the data of class

15     members?                                                  03:31:10

16                MR. FALCONER:     I'm going to object to the

17     form of the question and also object as beyond the

18     scope of the notice.

19                THE DEPONENT:     I don't know.

20          Q.    (By Ms. Weaver)     What steps has Facebook    03:31:23

21     taken since the filing of this lawsuit to track or

22     monitor what third parties have been receiving

23     named plaintiffs' data?

24                MR. FALCONER:     Objection.     Beyond the

25     scope of the notice.                                      03:31:38

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1                   THE DEPONENT:     We have sent the legal         03:31:42

2      hold notification to -- the legal hold notice to

3          custodians as well as placed              tables on

4      legal hold.     Those were the -- the preservation

5      steps.                                                        03:32:04

6                   MR. FALCONER:     Lesley, you're on mute.

7                   THE DEPONENT:     I can hear you.

8                   (Discussion off the stenographic record.)

9           Q.      (By Ms. Weaver)     Okay.     I'll direct your

10     attention to page 3 of Exhibit 389 please.                    03:32:28

11                  And for the record, it reads in point 8

12     there:    "Please provide definitions for the

13     departments identified in your August 17th letter."

14                  And I'll note for the record --

15                  MR. FALCONER:     Can you give me just a         03:32:47

16     second to get there?       I'm sorry.

17                  MS. WEAVER:     No problem.

18                  MR. FALCONER:     Can you state where you

19     are again.

20                  MS. WEAVER:     Exhibit 389, page 3.             03:32:53

21                  MR. FALCONER:     Page 3.     Okay.

22          Q.      (By Ms. Weaver)     And for the record, this

23     lists the departments that Gibson Dunn identified

24     as having received the legal hold notice in 2018.

25                  Do you see that?                                 03:33:14

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1           A.    Okay.     I do.                                  03:33:15

2           Q.    And it lists management which are members

3      of the leadership team.

4                 Do you see that?

5           A.    Uh-huh.     Yes.                                 03:33:23

6           Q.    Do you know who in management received

7      the legal hold notice?

8           A.    I don't recall the names of all of the

9      individuals on the leadership team as of

10     September 6th, 2018.                                        03:33:59

11                I can confirm, though, that we do have

12     members of the leadership team on -- on legal hold.

13          Q.    And do you know by name who?

14          A.    I just don't recall who was -- who was

15     part of the leadership team at that time.           I can   03:34:29

16     confirm that both Mark Zuckerberg and

17     Sheryl Sandberg were on the -- the Cambridge legal

18     hold at that time.      But -- but other management

19     members, I'm not sure.

20          Q.    Do you know if Javier Olivan was?                03:34:43

21          A.    I can't confirm that at the time of this

22     letter.   I do believe Mr. Olivan is on legal hold

23     for Cambridge Analytica.

24          Q.    And then legal -- the legal department

25     also received a legal hold notice; is that right?           03:35:14

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1           A.      Members of the legal department I believe    03:35:22

2      received the legal hold notice, yes.

3           Q.      And then members of the policy department

4      and communications department received the legal

5      hold notice; is that correct?                             03:35:37

6           A.      I have no reason to believe that this --

7      that statement -- those two statements are

8      inaccurate.

9           Q.      And do you see it refers here to

10     "platform and development operations"?                    03:35:53

11          A.      I do.

12          Q.      And did they receive the legal hold

13     notice?

14          A.      Members of the platform team development

15     operations team did -- did receive a copy of the          03:36:08

16     legal hold notice, yes.

17          Q.      And what is platform operations?

18          A.      I believe that at one time it was

19     called -- if -- I feel like this might be a -- a

20     typo here.     I think what was intended to say is        03:36:44

21     "developer operations" instead of "development

22     operations."

23                  And I know that that team formally

24     referred to as "developer operations" is now

25     referred to as "platform operations."                     03:37:01

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1              Q.    And what does platform operations do?             03:37:07

2              A.    I'm not sure of their -- their job

3      function.

4              Q.    So other than --

5                    MR. FALCONER:     I'm sorry.                      03:37:53

6                    Mike, are you done?

7                    THE DEPONENT:     Yeah, I'm just -- I'm just

8      trying to think if there's -- there's a summary or

9      a description that I can provide.

10                   MR. FALCONER:     While you're thinking, I        03:38:06

11     just had -- did not an objection out before you

12     started your answer.

13                   This question is beyond the scope of the

14     notice.      But I wanted to put that objection in.

15                   Go ahead.   Keep thinking.       You can          03:38:17

16     answer.      I just wanted to make that record.

17                   THE DEPONENT:     Yeah, I'm sorry.      I don't

18     know that I can -- can provide like an accurate

19     description of what the platform operations team

20     does.                                                           03:38:52

21             Q.    (By Ms. Weaver)     Do you know if platform

22     and development operations teams as described here

23     took any steps to preserve on a systemwide basis

24     information that would allow Facebook to identify

25     what information it was sending to third parties                03:39:09

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1      about the class members in this case?                       03:39:14

2                   MR. FALCONER:     Objection.     Form.

3                   THE DEPONENT:     If through the course of

4      our custodian interviews of members of either of

5      these two teams identified Hive tables relevant             03:39:36

6      to -- to your question, those Hive tables would

7      have been placed on legal hold for preservation.

8              Q.   (By Ms. Weaver)     Anything else you can

9      think of?

10             A.   Members of those teams who received the        03:40:07

11     legal hold notice would be instructed to preserve

12     any and all data related to the topics listed in

13     the legal hold notice.

14             Q.   When you say "any and all data," what do

15     you mean?                                                   03:40:23

16             A.   All ESI, hard copy materials, or

17     structured data like the data that is stored in

18     Hive tables.

19             Q.   Are you aware of any data not kept in

20     Hive tables and not kept in custodial files that            03:40:40

21     was preserved that could identify what information

22     third parties received about class members in this

23     case?

24                  MR. FALCONER:     Objection.     Form.

25                  THE DEPONENT:     In general, most of our --   03:41:02

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1      our data or ESI is not under a retention schedule             03:41:05

2      or deletion schedule, so unless -- unless an

3      employee were to proactively delete that

4      information, we would have preserved that

5      information through our various data sources that             03:41:44

6      we use within the company.

7              Q.   (By Ms. Weaver)     Okay.    I understand your

8      answer, but I'm really trying to ask something

9      very, very specific.

10                  Did Facebook take any steps on a systemic        03:42:03

11     basis to preserve information in logs such as the

12     API call logs that would identify what data third

13     parties received about the class members in this

14     case?

15                  MR. FALCONER:     I'm going to object to the     03:42:24

16     form of that question.

17                  And then, again, Mr. Duffey, remind you

18     to exclude any privileged information or contents

19     of any privileged communications in your answer.

20                  THE DEPONENT:     Beyond the data that is on     03:42:41

21     legal hold in the        tables that we have on -- on

22     hold, Hive tables, I'm not aware of any, you know,

23     additional measures to preserve that data.

24             Q.   (By Ms. Weaver)     And then is it your

25     understanding that members of the advertising,                03:43:11

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1      sales, and marketing departments, the security              03:43:13

2      department, the privacy team, human resources,

3      growth, academic research, engineering, and user

4      research all received litigation hold notices in

5      this case on or around March of 2018?                       03:43:33

6                   MR. FALCONER:     Objection.     Form.

7                   THE DEPONENT:     This -- this letter is

8      dated December 6th, 2018.        I have no reason to --

9      to not believe or -- that the accuracy of these

10     statements as it pertains to the various teams              03:44:05

11     within our organization that were placed on legal

12     hold.

13                  So by -- by the September 6th, 2018, I

14     would agree that -- that members from all of these

15     groups or teams were placed on legal hold.                  03:44:24

16             Q.   (By Ms. Weaver)     Are you aware of any

17     other departments that received the legal hold

18     notice in 2018?

19                  MR. FALCONER:     Objection.     Form.

20                  Go ahead, Mike.                                03:44:43

21                  THE DEPONENT:     No, this seems like --

22     like a comprehensive list.

23             Q.   (By Ms. Weaver)     Okay.

24                  MS. WEAVER:     We'll take a quick break and

25     we'll be back in like five.        We can go off the        03:45:14

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1      record.                                                      03:45:17

2                    THE VIDEOGRAPHER:     Okay.    We're off the

3      record.      It's 3:45 p.m.

4                    (Recess taken.)

5                    THE VIDEOGRAPHER:     Okay.    We're back on   03:51:22

6      the record.      It's 3:51 p.m.

7              Q.    (By Ms. Weaver)     Mr. Duffey, were you

8      aware of a motion that Facebook brought in this

9      case that (inaudible) permission not to preserve

10     data?                                                        03:51:36

11                   MR. FALCONER:     Objection.     Form and

12     outside the scope of the notice.

13                   And, Mr. Duffey, I want to exclude from

14     your answer anything you learned from conversations

15     with counsel in this case, privileged                        03:51:45

16     conversations.

17                   THE DEPONENT:     No, I'm not.

18             Q.    (By Ms. Weaver)     Do you know what a

19     method table is?

20             A.    I've heard of -- I've heard of the -- the      03:52:05

21     term "method table."      I -- I do not know what it

22     is, no.

23             Q.    When Facebook was implementing its

24     preservation program in response to this lawsuit,

25     did it consult with engineers to consider whether            03:52:30

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1      API call logs should be preserved in order to keep           03:52:34

2      a record of what data third parties obtained about

3      the plaintiffs in this case?

4                  MR. FALCONER:     So objection to form.

5                  And, again, Mr. Duffey, if there were any        03:52:51

6      privileged conversations that you were part of that

7      would otherwise be responsive to that question, you

8      should exclude from your answer.

9                  THE DEPONENT:     I heard you mention that

10     phrase "preservation programs," and I'm not sure I           03:53:08

11     understand what that means.       I just want to make

12     sure I get clarity on that before I attempt to

13     answer your question.

14          Q.     (By Ms. Weaver)     I just mean attempts to

15     preserve.    But I can restate the question.                 03:53:18

16                 When Facebook implemented its retention

17     policy in response to this lawsuit, did Facebook

18     consult with engineers to consider whether API call

19     logs should be preserved in order to keep a record

20     of what data third parties obtained about class              03:53:36

21     members in this case?

22                 MR. FALCONER:     Again, objection.      Form.

23                 And, Mr. Duffey, the same instruction on

24     privilege, which I can repeat if you need me to.

25                 THE DEPONENT:     I don't know.                  03:54:05

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1           Q.   (By Ms. Weaver)     Who would know?                03:54:06

2           A.   Custodian interviews are conducted by our

3      outside counsel and in-house counsel.        I think -- I

4      think they would be the appropriate people to ask

5      that question.                                               03:54:47

6           Q.   Other than custodial linked data sources,

7      did Facebook preserve ESI in central repositories?

8           A.   What do you mean by "central repository"?

9           Q.   For example, is financial information

10     preserved at Facebook in a centralized repository            03:55:34

11     that is not custodially limited?

12          A.   I'm aware of teams that use central

13     repositories like a Google Drive or a SharePoint or

14     a network share.   So if you can repeat the question

15     I -- I think I -- I can attempt to answer.                   03:56:28

16          Q.   Other than custodial data sources, did

17     Facebook preserve ESI in central repositories?

18          A.   I think I mentioned this before.         Central

19     repositories like Google Drive or like a network

20     share or like a SharePoint are not under any                 03:56:54

21     auto-deletion or retention period.       Data that lives

22     within a central repository would have to be

23     deleted by some lady who had access to those

24     central repositories.

25               And as I stated earlier, I'm not aware --          03:57:26

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1      I have never -- our E-discovery team has not been         03:57:29

2      made aware of any deletion that has occurred in a

3      central repository for this matter.

4           Q.   Did Facebook take any steps to preserve

5      logs that reflect what data SDKs were obtaining           03:57:57

6      that related to class member data?

7                MR. FALCONER:     Objection.     Form.

8                THE DEPONENT:     I don't know what an SDK

9      is, but if that were data that is part of the Hive

10     tables that have been preserved for this matter,          03:58:25

11     then yes, we would have preserved it.

12          Q.   (By Ms. Weaver)     Okay.    Is it Facebook's

13     usual practice that data in Hive tables subject to

14     legal holds are automatically put in cold storage?

15               MR. FALCONER:     Objection.     Form.          03:58:59

16               THE DEPONENT:     It has been the

17     E-discovery -- E-discovery data science team's

18     approach or mechanism for placing Hive tables on

19     legal hold to move that data into cold storage.

20          Q.   (By Ms. Weaver)     How long does it take to    03:59:34

21     get data out of cold storage?

22               MR. FALCONER:     Objection.     Beyond the

23     scope of the notice.

24               THE DEPONENT:     I think it would depend

25     on -- on the size of the data that would be needed        03:59:51

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1      to -- be taken out of cold storage.        So I -- so I    03:59:56

2      don't know -- I don't know how long it would take.

3      But it -- it certainly would depend on the size of

4      the -- the data or the Hive table.

5           Q.   (By Ms. Weaver)     Do you know whether the      04:00:17

6      data in the     Hive tables is available anywhere

7      else at Facebook?

8           A.   I don't know -- I don't know that I can

9      answer that question.     I don't know.

10          Q.   When you said it would depend on the size        04:00:55

11     of the data, can you give a rough estimate as to

12     how long it would take to get Hive tables out of

13     cold storage?

14               MR. FALCONER:     Objection.     Beyond the

15     scope.                                                     04:01:07

16               THE DEPONENT:     I can't -- I can't.        I

17     mean Hive tables, especially ones that are on legal

18     hold, grow in size every single day that new data

19     is put into cold storage.     I'm -- I -- I have no

20     idea how long it would take, but I know that it            04:01:30

21     would be dependent on -- on the size of the tables.

22          Q.   (By Ms. Weaver)     Is --

23          A.   Our data science -- I would ask our data

24     science team on -- on sort of a timetable depending

25     on which tables were -- were -- you're referring           04:01:49

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1      to.                                                       04:01:52

2            Q.   Are we talking weeks or months?

3                 MR. FALCONER:     Same objection.

4                 THE DEPONENT:     Possibly.    I don't know.

5            Q.   (By Ms. Weaver)     Has Facebook ever          04:02:07

6      brought tables out of cold storage that have been

7      put in there on a litigation hold?

8                 MR. FALCONER:     Same objection.

9                 THE DEPONENT:     I believe so.

10           Q.   (By Ms. Weaver)     On how many occasions?     04:02:33

11                MR. FALCONER:     Objection.     Beyond the

12     scope.

13                THE DEPONENT:     I don't -- I don't know.

14     I've only work on a subset of a total number of

15     active regulatory and litigation matters within --        04:02:47

16     within our legal department, so I don't know the

17     answer to that question.

18           Q.   (By Ms. Weaver)     How many times are you

19     aware of that Facebook has brought data out of cold

20     storage?                                                  04:03:00

21                MR. FALCONER:     Objection.     Beyond the

22     scope.

23                THE DEPONENT:     I don't have a number.

24           Q.   (By Ms. Weaver)     Is it more than ten?

25                MR. FALCONER:     Same objection.              04:03:14

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1                   THE DEPONENT:     I don't know.                04:03:18

2              Q.   (By Ms. Weaver)     Have you ever personally

3      been involved in a matter where Facebook brought

4      data out of cold storage?

5                   MR. FALCONER:     Objection.     Beyond the    04:03:34

6      scope.

7                   THE DEPONENT:     Yeah, I'm -- I'm

8      struggling with this question because I've never

9      heard sort of the term "taking data out of cold

10     storage."                                                   04:04:26

11                  I am aware of our E-discovery data

12     science team producing structured data in -- in

13     matters.     Whether or not it was taken out of cold

14     storage or not, I'm -- I'm just not clear on that

15     process.                                                    04:04:52

16             Q.   (By Ms. Weaver)     And in what matters did

17     Facebook's data science team produce structured

18     data out of cold storage?

19                  MR. FALCONER:     Objection.     Beyond the

20     scope.                                                      04:05:08

21                  THE DEPONENT:     No -- no specific matters

22     come to mind that I can -- I can tell you sitting

23     here.

24             Q.   (By Ms. Weaver)     Who is involved with

25     producing the structured data out of cold storage?          04:05:57

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1                   MR. FALCONER:     Objection.     Beyond the    04:06:05

2      scope.

3                   THE DEPONENT:     Any -- any data that is

4      produced from Hive tables goes through a stat

5      review process that involves different                      04:06:26

6      cross-functional partners within the company,

7      including E -- E-discovery, legal.          It depends

8      on -- on what the data is and who the owners of

9      that data are.

10            Q.    (By Ms. Weaver)     Does putting Hive logs     04:07:02

11     in cold storage make it less accessible?

12                  MR. FALCONER:     Objection.     Form and

13     beyond the scope of the notice.

14                  THE DEPONENT:     When data is put into cold

15     storage, only the E-discovery team would -- would           04:07:27

16     have access to that data.        So I -- I believe it

17     does make it more difficult to access the data,

18     yes.

19            Q.    (By Ms. Weaver)     What is cold storage,

20     exactly?                                                    04:07:53

21                  MR. FALCONER:     Same objection.

22                  THE DEPONENT:     I'm not a data scientist.

23     All I know is that that's the storage space for

24     which, for instance, legal hold data, Hive data is

25     preserved.                                                  04:08:20

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1           Q.   (By Ms. Weaver)     You understand that you     04:08:23

2      were to testify today regarding the

3      Special Master's question "were any high Hive

4      tables containing named plaintiff data placed in

5      cold storage during the pendency of this                  04:08:32

6      litigation," right?

7           A.   Yes.

8           Q.   So what does it mean to place Hive tables

9      in cold storage?

10          A.   That is our -- our mechanism for placing        04:08:44

11     Hive data on legal hold so that it cannot be

12     altered, modified, or deleted.

13          Q.   Does placing it in cold storage make it

14     less accessible, meaning in terms of being able to

15     search or access the data?                                04:09:07

16               MR. FALCONER:     Objection.     Beyond the

17     scope.

18               But go ahead.

19               THE DEPONENT:     I don't know.     I -- I

20     would have to ask our -- our data science team that       04:09:20

21     specific question.

22               MS. WEAVER:     Okay.   I have no further

23     questions at this time.     We will seek a deponent to

24     answer on the questions that the witness was not

25     able to answer.                                           04:09:38

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1                But, Mr. Duffey, I want to thank you            04:09:39

2      very, very much for your time and effort and the

3      time you took to prepare for this deposition.

4                THE DEPONENT:     And thank you, Ms. Weaver.

5                MR. FALCONER:     We'll reserve all rights.     04:09:48

6      We'd like to read and sign, and mark the transcript

7      "Confidential" pending the final confidentiality

8      designations.

9                MS. WEAVER:     Okay.     We can go off the

10     record.                                                   04:09:58

11               THE VIDEOGRAPHER:       Thank you.

12               We're off the record.        It's 4:10 p.m.

13               (TIME NOTED:     4:10 p.m.)

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1      RUSSELL H. FALCONER

2      rfalconer@gibsondunn.com

3                                                          June 7, 2022

4      RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION

5      JUNE 2, 2022, MICHAEL DUFFEY, JOB NO. 5234611

6      The above-referenced transcript has been

7      completed by Veritext Legal Solutions and

8      review of the transcript is being handled as follows:

9      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10        to schedule a time to review the original transcript at

11        a Veritext office.

12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13        Transcript - The witness should review the transcript and

14        make any necessary corrections on the errata pages included

15        below, notating the page and line number of the corrections.

16        The witness should then sign and date the errata and penalty

17        of perjury pages and return the completed pages to all

18        appearing counsel within the period of time determined at

19        the deposition or provided by the Code of Civil Procedure.

20     __ Waiving the CA Code of Civil Procedure per Stipulation of

21        Counsel - Original transcript to be released for signature

22        as determined at the deposition.

23     __ Signature Waived – Reading & Signature was waived at the

24        time of the deposition.

25

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1      xx Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2         Transcript - The witness should review the transcript and

3         make any necessary corrections on the errata pages included

4         below, notating the page and line number of the corrections.

5         The witness should then sign and date the errata and penalty

6         of perjury pages and return the completed pages to all

7         appearing counsel within the period of time determined at

8         the deposition or provided by the Federal Rules.

9      __ Federal R&S Not Requested - Reading & Signature was not

10        requested before the completion of the deposition.

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1             I, MICHAEL DUFFEY, do hereby declare under
2      penalty of perjury that I have read the foregoing
3      transcript; that I have made any corrections as
4      appear notes; that my testimony as contained
5      herein, as corrected, is true and correct.
6             Executed this ____ day of ___________________,
7      2022, at      __________________,_____________________.
8
9
10
11                        _______________________
12                                MICHAEL DUFFEY
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1      RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION
2      MICHAEL DUFFEY (JOB NO. 5234611)
3                             E R R A T A         S H E E T
4      PAGE_____ LINE_____ CHANGE________________________
5      __________________________________________________
6      REASON____________________________________________
7      PAGE_____ LINE_____ CHANGE________________________
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9      REASON____________________________________________
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19     PAGE_____ LINE_____ CHANGE________________________
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21     REASON____________________________________________
22
23     ________________________________                    _______________
24     MICHAEL DUFFEY                                      Date
25

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